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15
16                                UNITED STATES DISTRICT COURT
17
                                          DISTRICT OF NEVADA
18
       LAS VEGAS POLICE PROTECTIVE                   Case No.:   2:15-cv-1928 LDG-CWH
19     ASSOCIATION METRO INC.; LAS VEGAS
20     METRO POLICE MANAGERS &
       SUPERVISORS ASSOCIATION,                      PLAINTIFFS’ NOTICE OF
21                                                   SUPPLEMENTAL AUTHORITY
                            Plaintiffs,
22                   vs.
23
       LAS VEGAS METROPOLITAN POLICE
24     DEPARTMENT,
25                          Defendant.
26
27
28
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 1
                       PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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            Plaintiffs submit the attached exhibit as supplemental authority. When Plaintiffs argued that
 4
     union activities were protected speech in their Response to Defendant Metros’ Motion for Summary
 5
     Judgment, this authority did not yet exist. While Plaintiffs filed their Response on May 24, 2018 (Dkt.
 6
     No. 41), the Supreme Court did not issue the decision in Janus v. AFSCME, Council 31, 585 U.S. ____,
 7
     No. 16-1466 (2018), until June 27, 2018.
 8
            Although the briefing packet for Defendant Metro’s Motion for Summary Judgment was
 9
     complete as of June 7, 2018, Plaintiffs wish to keep the Court apprised of relevant legal authorities.
10
11
12
     Dated: July 2, 2018                           Respectfully submitted,
13
14
                                                   /s/ Kimberley C. Weber
15                                                 Richard McCracken
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          Case 2:15-cv-01928-LDG-CWH Document 42 Filed 07/02/18 Page 3 of 87




 1                                      CERTIFICATE OF SERVICE
 2          The certify that on July 2, 2018, I electronically transmitted the attached document to the
 3   Clerk’s Office using the CM/ECF System for filing and transmittal and a Notice of Electronic Filing
 4   was electronically transmitted from the court to the e-mail address on file.
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 6                                                 /s/ Marcie Boyle
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   SUPPLEMENTAL AUTHORITY
Case 2:15-cv-01928-LDG-CWH Document 42 Filed 07/02/18 Page 5 of 87




         (Slip Opinion)              OCTOBER TERM, 2017                                       1

                                                Syllabus

                  NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
                being done in connection with this case, at the time the opinion is issued.
                The syllabus constitutes no part of the opinion of the Court but has been
                prepared by the Reporter of Decisions for the convenience of the reader.
                See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


         SUPREME COURT OF THE UNITED STATES

                                                Syllabus

               JANUS v. AMERICAN FEDERATION OF STATE,
                 COUNTY, AND MUNICIPAL EMPLOYEES,
                           COUNCIL 31, ET AL.

         CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                         THE SEVENTH CIRCUIT

            No. 16–1466. Argued February 26, 2018—Decided June 27, 2018
         Illinois law permits public employees to unionize. If a majority of the
            employees in a bargaining unit vote to be represented by a union,
            that union is designated as the exclusive representative of all the
            employees, even those who do not join. Only the union may engage
            in collective bargaining; individual employees may not be represented
            by another agent or negotiate directly with their employer. Non-
            members are required to pay what is generally called an “agency fee,”
            i.e., a percentage of the full union dues. Under Abood v. Detroit Bd.
            of Ed., 431 U. S. 209, 235–236, this fee may cover union expenditures
            attributable to those activities “germane” to the union’s collective-
            bargaining activities (chargeable expenditures), but may not cover
            the union’s political and ideological projects (nonchargeable expendi-
            tures). The union sets the agency fee annually and then sends non-
            members a notice explaining the basis for the fee and the breakdown
            of expenditures. Here it was 78.06% of full union dues.
               Petitioner Mark Janus is a state employee whose unit is represent-
            ed by a public-sector union (Union), one of the respondents. He re-
            fused to join the Union because he opposes many of its positions, in-
            cluding those taken in collective bargaining. Illinois’ Governor,
            similarly opposed to many of these positions, filed suit challenging
            the constitutionality of the state law authorizing agency fees. The
            state attorney general, another respondent, intervened to defend the
            law, while Janus moved to intervene on the Governor’s side. The
            District Court dismissed the Governor’s challenge for lack of stand-
            ing, but it simultaneously allowed Janus to file his own complaint
            challenging the constitutionality of agency fees. The District Court
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         2   JANUS v. STATE, COUNTY, AND MUNICIPAL EMPLOYEES

                                         Syllabus

          granted respondents’ motion to dismiss on the ground that the claim
          was foreclosed by Abood. The Seventh Circuit affirmed.
         Held:
             1. The District Court had jurisdiction over petitioner’s suit. Peti-
          tioner was undisputedly injured in fact by Illinois’ agency-fee scheme
          and his injuries can be redressed by a favorable court decision. For
          jurisdictional purposes, the court permissibly treated his amended
          complaint in intervention as the operative complaint in a new law-
          suit. United States ex rel. Texas Portland Cement Co. v. McCord, 233
          U. S. 157, distinguished. Pp. 6–7.
             2. The State’s extraction of agency fees from nonconsenting public-
          sector employees violates the First Amendment. Abood erred in con-
          cluding otherwise, and stare decisis cannot support it. Abood is
          therefore overruled. Pp. 7–47.
                  (a) Abood’s holding is inconsistent with standard First
          Amendment principles. Pp. 7–18.
             (1) Forcing free and independent individuals to endorse ideas they
          find objectionable raises serious First Amendment concerns. E.g.,
          West Virginia Bd. of Ed. v. Barnette, 319 U. S. 624, 633. That in-
          cludes compelling a person to subsidize the speech of other private
          speakers. E.g., Knox v. Service Employees, 567 U. S. 298, 309. In
          Knox and Harris v. Quinn, 573 U. S. ___, the Court applied an “exact-
          ing” scrutiny standard in judging the constitutionality of agency fees
          rather than the more traditional strict scrutiny. Even under the
          more permissive standard, Illinois’ scheme cannot survive. Pp. 7–11.
             (2) Neither of Abood’s two justifications for agency fees passes mus-
          ter under this standard. First, agency fees cannot be upheld on the
          ground that they promote an interest in “labor peace.” The Abood
          Court’s fears of conflict and disruption if employees were represented
          by more than one union have proved to be unfounded: Exclusive rep-
          resentation of all the employees in a unit and the exaction of agency
          fees are not inextricably linked. To the contrary, in the Federal Gov-
          ernment and the 28 States with laws prohibiting agency fees, mil-
          lions of public employees are represented by unions that effectively
          serve as the exclusive representatives of all the employees. Whatever
          may have been the case 41 years ago when Abood was decided, it is
          thus now undeniable that “labor peace” can readily be achieved
          through less restrictive means than the assessment of agency fees.
             Second, avoiding “the risk of ‘free riders,’ ” Abood, supra, at 224, is
          not a compelling state interest. Free-rider “arguments . . . are gener-
          ally insufficient to overcome First Amendment objections,” Knox, su-
          pra, at 311, and the statutory requirement that unions represent
          members and nonmembers alike does not justify different treatment.
          As is evident in non-agency-fee jurisdictions, unions are quite willing
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                                        Syllabus

          to represent nonmembers in the absence of agency fees. And their
          duty of fair representation is a necessary concomitant of the authori-
          ty that a union seeks when it chooses to be the exclusive representa-
          tive. In any event, States can avoid free riders through less restric-
          tive means than the imposition of agency fees. Pp. 11–18.
               (b) Respondents’ alternative justifications for Abood are similarly
          unavailing. Pp. 18–26.
             (1) The Union claims that Abood is supported by the First Amend-
          ment’s original meaning. But neither founding-era evidence nor dic-
          tum in Connick v. Myers, 461 U. S. 138, 143, supports the view that
          the First Amendment was originally understood to allow States to
          force public employees to subsidize a private third party. If anything,
          the opposite is true. Pp. 18–22.
             (2) Nor does Pickering v. Board of Ed. of Township High School
          Dist. 205, Will Cty., 391 U. S. 563, provide a basis for Abood. Abood
          was not based on Pickering, and for good reasons. First, Pickering’s
          framework was developed for use in cases involving “one employee’s
          speech and its impact on that employee’s public responsibilities,”
          United States v. Treasury Employees, 513 U. S. 454, 467, while Abood
          and other agency-fee cases involve a blanket requirement that all
          employees subsidize private speech with which they may not agree.
          Second, Pickering’s framework was designed to determine whether a
          public employee’s speech interferes with the effective operation of a
          government office, not what happens when the government compels
          speech or speech subsidies in support of third parties. Third, the cat-
          egorization schemes of Pickering and Abood do not line up. For ex-
          ample, under Abood, nonmembers cannot be charged for speech that
          concerns political or ideological issues; but under Pickering, an em-
          ployee’s free speech interests on such issues could be overcome if
          outweighed by the employer’s interests. Pp. 22–26.
                (c) Even under some form of Pickering, Illinois’ agency-fee ar-
          rangement would not survive. Pp. 26–33.
             (1) Respondents compare union speech in collective bargaining and
          grievance proceedings to speech “pursuant to [an employee’s] official
          duties,” Garcetti v. Ceballos, 547 U. S. 410, 421, which the State may
          require of its employees. But in those situations, the employee’s
          words are really the words of the employer, whereas here the union is
          speaking on behalf of the employees. Garcetti therefore does not ap-
          ply. Pp. 26–27.
             (2) Nor does the union speech at issue cover only matters of private
          concern, which the State may also generally regulate under Picker-
          ing. To the contrary, union speech covers critically important and
          public matters such as the State’s budget crisis, taxes, and collective
          bargaining issues related to education, child welfare, healthcare, and
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         4    JANUS v. STATE, COUNTY, AND MUNICIPAL EMPLOYEES

                                           Syllabus

             minority rights. Pp. 27–31.
               (3) The government’s proffered interests must therefore justify the
             heavy burden of agency fees on nonmembers’ First Amendment in-
             terests. They do not. The state interests asserted in Abood—
             promoting “labor peace” and avoiding free riders—clearly do not, as
             explained earlier. And the new interests asserted in Harris and
             here—bargaining with an adequately funded agent and improving
             the efficiency of the work force—do not suffice either. Experience
             shows that unions can be effective even without agency fees. Pp. 31–
             33.
                   (d) Stare decisis does not require retention of Abood. An analy-
             sis of several important factors that should be taken into account in
             deciding whether to overrule a past decision supports this conclusion.
             Pp. 33–47.
                (1) Abood was poorly reasoned, and those arguing for retaining it
             have recast its reasoning, which further undermines its stare decisis
             effect, e.g., Citizens United v. Federal Election Comm’n, 558 U. S.
             310, 363. Abood relied on Railway Employes v. Hanson, 351 U. S.
             225, and Machinists v. Street, 367 U. S. 740, both of which involved
             private-sector collective-bargaining agreements where the govern-
             ment merely authorized agency fees. Abood did not appreciate the
             very different First Amendment question that arises when a State
             requires its employees to pay agency fees. Abood also judged the con-
             stitutionality of public-sector agency fees using Hanson’s deferential
             standard, which is inappropriate in deciding free speech issues. Nor
             did Abood take into account the difference between the effects of
             agency fees in public- and private-sector collective bargaining, antici-
             pate administrative problems with classifying union expenses as
             chargeable or nonchargeable, foresee practical problems faced by
             nonmembers wishing to challenge those decisions, or understand the
             inherently political nature of public-sector bargaining. Pp. 35–38.
               (2) Abood’s lack of workability also weighs against it. Its line be-
             tween chargeable and nonchargeable expenditures has proved to be
             impossible to draw with precision, as even respondents recognize.
             See, e.g., Lehnert v. Ferris Faculty Assn., 500 U. S. 507, 519. What is
             more, a nonmember objecting to union chargeability determinations
             will have much trouble determining the accuracy of the union’s re-
             ported expenditures, which are often expressed in extremely broad
             and vague terms. Pp. 38–41.
               (3) Developments since Abood, both factual and legal, have “erod-
             ed” the decision’s “underpinnings” and left it an outlier among the
             Court’s First Amendment cases. United States v. Gaudin, 515 U. S.
             506, 521. Abood relied on an assumption that “the principle of exclu-
             sive representation in the public sector is dependent on a union or
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                                         Syllabus

           agency shop,” Harris, 573 U. S., at ___–___, but experience has shown
           otherwise. It was also decided when public-sector unionism was a
           relatively new phenomenon. Today, however, public-sector union
           membership has surpassed that in the private sector, and that as-
           cendency corresponds with a parallel increase in public spending.
           Abood is also an anomaly in the Court’s First Amendment jurispru-
           dence, where exacting scrutiny, if not a more demanding standard,
           generally applies. Overruling Abood will also end the oddity of allow-
           ing public employers to compel union support (which is not supported
           by any tradition) but not to compel party support (which is supported
           by tradition), see, e.g., Elrod v. Burns, 427 U. S. 347. Pp. 42–44.
             (4) Reliance on Abood does not carry decisive weight. The uncer-
           tain status of Abood, known to unions for years; the lack of clarity it
           provides; the short-term nature of collective-bargaining agreements;
           and the ability of unions to protect themselves if an agency-fee provi-
           sion was crucial to its bargain undermine the force of reliance.
           Pp. 44–47.
             3. For these reasons, States and public-sector unions may no longer
           extract agency fees from nonconsenting employees.              The First
           Amendment is violated when money is taken from nonconsenting
           employees for a public-sector union; employees must choose to sup-
           port the union before anything is taken from them. Accordingly, nei-
           ther an agency fee nor any other form of payment to a public-sector
           union may be deducted from an employee, nor may any other attempt
           be made to collect such a payment, unless the employee affirmatively
           consents to pay. Pp. 48–49.
         851 F. 3d 746, reversed and remanded.

           ALITO, J., delivered the opinion of the Court, in which ROBERTS, C. J.,
         and KENNEDY, THOMAS, and, GORSUCH, JJ., joined. SOTOMAYOR, J., filed
         a dissenting opinion. KAGAN, J., filed a dissenting opinion, in which
         GINSBURG, BREYER, and SOTOMAYOR, JJ., joined.
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                                 Cite as: 585 U. S. ____ (2018)                              1

                                      Opinion of the Court

              NOTICE: This opinion is subject to formal revision before publication in the
              preliminary print of the United States Reports. Readers are requested to
              notify the Reporter of Decisions, Supreme Court of the United States, Wash­
              ington, D. C. 20543, of any typographical or other formal errors, in order
              that corrections may be made before the preliminary print goes to press.


         SUPREME COURT OF THE UNITED STATES
                                            _________________

                                            No. 16–1466
                                            _________________


           MARK JANUS, PETITIONER v. AMERICAN FEDER­
            ATION OF STATE, COUNTY, AND MUNICIPAL
                 EMPLOYEES, COUNCIL 31, ET AL.
          ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                    APPEALS FOR THE SEVENTH CIRCUIT
                                          [June 27, 2018]

            JUSTICE ALITO delivered the opinion of the Court.
            Under Illinois law, public employees are forced to subsi­
         dize a union, even if they choose not to join and strongly
         object to the positions the union takes in collective bar­
         gaining and related activities. We conclude that this
         arrangement violates the free speech rights of nonmem­
         bers by compelling them to subsidize private speech on
         matters of substantial public concern.
            We upheld a similar law in Abood v. Detroit Bd. of Ed.,
         431 U. S. 209 (1977), and we recognize the importance of
         following precedent unless there are strong reasons for not
         doing so. But there are very strong reasons in this case.
         Fundamental free speech rights are at stake. Abood was
         poorly reasoned. It has led to practical problems and
         abuse. It is inconsistent with other First Amendment
         cases and has been undermined by more recent decisions.
         Developments since Abood was handed down have shed
         new light on the issue of agency fees, and no reliance
         interests on the part of public-sector unions are sufficient
         to justify the perpetuation of the free speech violations
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                              Opinion of the Court

         that Abood has countenanced for the past 41 years. Abood
         is therefore overruled.
                                        I
                                        A
            Under the Illinois Public Labor Relations Act (IPLRA),
         employees of the State and its political subdivisions are
         permitted to unionize.        See Ill. Comp. Stat., ch. 5,
         §315/6(a) (West 2016). If a majority of the employees in a
         bargaining unit vote to be represented by a union, that
         union is designated as the exclusive representative of all
         the employees. §§315/3(s)(1), 315/6(c), 315/9. Employees
         in the unit are not obligated to join the union selected by
         their co-workers, but whether they join or not, that union
         is deemed to be their sole permitted representative. See
         §§315/6(a), (c).
            Once a union is so designated, it is vested with broad
         authority. Only the union may negotiate with the employer
         on matters relating to “pay, wages, hours[,] and other
         conditions of employment.” §315/6(c). And this authority
         extends to the negotiation of what the IPLRA calls “policy
         matters,” such as merit pay, the size of the work force,
         layoffs, privatization, promotion methods, and non­
         discrimination policies. §315/4; see §315/6(c); see gener-
         ally, e.g., Illinois Dept. of Central Management Servs. v.
         AFSCME, Council 31, No. S–CB–16–17 etc., 33 PERI ¶67
         (ILRB Dec. 13, 2016) (Board Decision).
            Designating a union as the employees’ exclusive repre­
         sentative substantially restricts the rights of individual
         employees. Among other things, this designation means
         that individual employees may not be represented by any
         agent other than the designated union; nor may individual
         employees negotiate directly with their employer.
         §§315/6(c)–(d), 315/10(a)(4); see Matthews v. Chicago
         Transit Authority, 2016 IL 117638, 51 N. E. 3d 753, 782;
         accord, Medo Photo Supply Corp. v. NLRB, 321 U. S. 678,
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                               Opinion of the Court

         683–684 (1944). Protection of the employees’ interests is
         placed in the hands of the union, and therefore the union
         is required by law to provide fair representation for all
         employees in the unit, members and nonmembers alike.
         §315/6(d).
            Employees who decline to join the union are not as­
         sessed full union dues but must instead pay what is gen­
         erally called an “agency fee,” which amounts to a percent­
         age of the union dues. Under Abood, nonmembers may be
         charged for the portion of union dues attributable to activ­
         ities that are “germane to [the union’s] duties as collective-
         bargaining representative,” but nonmembers may not be
         required to fund the union’s political and ideological pro­
         jects. 431 U. S., at 235; see id., at 235–236. In labor-law
         parlance, the outlays in the first category are known as
         “chargeable” expenditures, while those in the latter are
         labeled “nonchargeable.”
            Illinois law does not specify in detail which expenditures
         are chargeable and which are not. The IPLRA provides
         that an agency fee may compensate a union for the costs
         incurred in “the collective bargaining process, contract
         administration[,] and pursuing matters affecting wages,
         hours[,] and conditions of employment.” §315/6(e); see also
         §315/3(g). Excluded from the agency-fee calculation are
         union expenditures “related to the election or support of
         any candidate for political office.” §315/3(g); see §315/6(e).
            Applying this standard, a union categorizes its expendi­
         tures as chargeable or nonchargeable and thus determines
         a nonmember’s “proportionate share,” §315/6(e); this
         determination is then audited; the amount of the “propor­
         tionate share” is certified to the employer; and the em­
         ployer automatically deducts that amount from the non­
         members’ wages. See ibid.; App. to Pet. for Cert. 37a; see
         also Harris v. Quinn, 573 U. S. ___, ___–___ (2014) (slip
         op., at 19–20) (describing this process). Nonmembers need
         not be asked, and they are not required to consent before
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                              Opinion of the Court

         the fees are deducted.
            After the amount of the agency fee is fixed each year,
         the union must send nonmembers what is known as a
         Hudson notice. See Teachers v. Hudson, 475 U. S. 292
         (1986). This notice is supposed to provide nonmembers
         with “an adequate explanation of the basis for the [agency]
         fee.” Id., at 310. If nonmembers “suspect that a union has
         improperly put certain expenses in the [chargeable] cate­
         gory,” they may challenge that determination. Harris,
         supra, at ___ (slip op., at 19).
            As illustrated by the record in this case, unions charge
         nonmembers, not just for the cost of collective bargaining
         per se, but also for many other supposedly connected
         activities. See App. to Pet. for Cert. 28a–39a. Here, the
         nonmembers were told that they had to pay for
         “[l]obbying,” “[s]ocial and recreational activities,” “adver­
         tising,” “[m]embership meetings and conventions,” and
         “litigation,” as well as other unspecified “[s]ervices” that
         “may ultimately inure to the benefit of the members of the
         local bargaining unit.” Id., at 28a–32a. The total charge­
         able amount for nonmembers was 78.06% of full union
         dues. Id., at 34a.
                                       B
           Petitioner Mark Janus is employed by the Illinois De­
         partment of Healthcare and Family Services as a child
         support specialist. Id., at 10a. The employees in his unit
         are among the 35,000 public employees in Illinois who are
         represented by respondent American Federation of State,
         County, and Municipal Employees, Council 31 (Union).
         Ibid. Janus refused to join the Union because he opposes
         “many of the public policy positions that [it] advocates,”
         including the positions it takes in collective bargaining.
         Id., at 10a, 18a. Janus believes that the Union’s “behavior
         in bargaining does not appreciate the current fiscal crises
         in Illinois and does not reflect his best interests or the
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                               Opinion of the Court

         interests of Illinois citizens.” Id., at 18a. Therefore, if he
         had the choice, he “would not pay any fees or otherwise
         subsidize [the Union].” Ibid. Under his unit’s collective-
         bargaining agreement, however, he was required to pay an
         agency fee of $44.58 per month, id., at 14a—which would
         amount to about $535 per year.
            Janus’s concern about Illinois’ current financial situa­
         tion is shared by the Governor of the State, and it was the
         Governor who initially challenged the statute authorizing
         the imposition of agency fees. The Governor commenced
         an action in federal court, asking that the law be declared
         unconstitutional, and the Illinois attorney general (a
         respondent here) intervened to defend the law. App. 41.
         Janus and two other state employees also moved to inter­
         vene—but on the Governor’s side. Id., at 60.
            Respondents moved to dismiss the Governor’s challenge
         for lack of standing, contending that the agency fees did
         not cause him any personal injury. E.g., id., at 48–49.
         The District Court agreed that the Governor could not
         maintain the lawsuit, but it held that petitioner and the
         other individuals who had moved to intervene had stand­
         ing because the agency fees unquestionably injured them.
         Accordingly, “in the interest of judicial economy,” the court
         dismissed the Governor as a plaintiff, while simultane-
         ously allowing petitioner and the other employees to file their
         own complaint. Id., at 112. They did so, and the case
         proceeded on the basis of this new complaint.
            The amended complaint claims that all “nonmember fee
         deductions are coerced political speech” and that “the First
         Amendment forbids coercing any money from the non­
         members.” App. to Pet. for Cert. 23a. Respondents moved
         to dismiss the amended complaint, correctly recognizing
         that the claim it asserted was foreclosed by Abood. The
         District Court granted the motion, id., at 7a, and the
         Court of Appeals for the Seventh Circuit affirmed, 851
         F. 3d 746 (2017).
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           Janus then sought review in this Court, asking us to
         overrule Abood and hold that public-sector agency-fee
         arrangements are unconstitutional. We granted certiorari
         to consider this important question. 582 U. S. ___ (2017).
                                        II
            Before reaching this question, however, we must con-
         sider a threshold issue. Respondents contend that the Dis-
         trict Court lacked jurisdiction under Article III of the
         Constitution because petitioner “moved to intervene in
         [the Governor’s] jurisdictionally defective lawsuit.” Union
         Brief in Opposition 11; see also id., at 13–17; State Brief in
         Opposition 6; Brief for Union Respondent i, 16–17; Brief
         for State Respondents 14, n. 1. This argument is clearly
         wrong.
            It rests on the faulty premise that petitioner intervened
         in the action brought by the Governor, but that is not
         what happened. The District Court did not grant petition­
         er’s motion to intervene in that lawsuit. Instead, the court
         essentially treated petitioner’s amended complaint as the
         operative complaint in a new lawsuit. App. 110–112. And
         when the case is viewed in that way, any Article III issue
         vanishes. As the District Court recognized—and as re­
         spondents concede—petitioner was injured in fact by
         Illinois’ agency-fee scheme, and his injuries can be re­
         dressed by a favorable court decision. Ibid.; see Record
         2312–2313, 2322–2323. Therefore, he clearly has Article
         III standing. Lujan v. Defenders of Wildlife, 504 U. S. 555,
         560–561 (1992). It is true that the District Court docketed
         petitioner’s complaint under the number originally as­
         signed to the Governor’s complaint, instead of giving it a
         new number of its own. But Article III jurisdiction does
         not turn on such trivialities.
            The sole decision on which respondents rely, United
         States ex rel. Texas Portland Cement Co. v. McCord, 233
         U. S. 157 (1914), actually works against them. That case
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         concerned a statute permitting creditors of a government
         contractor to bring suit on a bond between 6 and 12
         months after the completion of the work. Id., at 162. One
         creditor filed suit before the 6-month starting date, but
         another intervened within the 6-to-12-month window. The
         Court held that the “[t]he intervention [did] not cure th[e]
         vice in the original [prematurely filed] suit,” but the Court
         also contemplated treating “intervention . . . as an original
         suit” in a case in which the intervenor met the require­
         ments that a plaintiff must satisfy—e.g., filing a separate
         complaint and properly serving the defendants. Id., at
         163–164. Because that is what petitioner did here, we
         may reach the merits of the question presented.
                                        III
            In Abood, the Court upheld the constitutionality of an
         agency-shop arrangement like the one now before us, 431
         U. S., at 232, but in more recent cases we have recognized
         that this holding is “something of an anomaly,” Knox v.
         Service Employees, 567 U. S. 298, 311 (2012), and that
         Abood’s “analysis is questionable on several grounds,”
         Harris, 573 U. S., at ___ (slip op., at 17); see id., at ___–___
         (slip op., at 17–20) (discussing flaws in Abood’s reasoning).
         We have therefore refused to extend Abood to situations
         where it does not squarely control, see Harris, supra, at
         ___–___ (slip op., at 27–29), while leaving for another day
         the question whether Abood should be overruled, Harris,
         supra, at ___, n. 19 (slip op., at 27, n. 19); see Knox, supra,
         at 310–311.
            We now address that question. We first consider
         whether Abood’s holding is consistent with standard First
         Amendment principles.
                                  A
           The First Amendment, made applicable to the States by
         the Fourteenth Amendment, forbids abridgment of the
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         freedom of speech. We have held time and again that
         freedom of speech “includes both the right to speak freely
         and the right to refrain from speaking at all.” Wooley v.
         Maynard, 430 U. S. 705, 714 (1977); see Riley v. National
         Federation of Blind of N. C., Inc., 487 U. S. 781, 796–797
         (1988); Harper & Row, Publishers, Inc. v. Nation Enter-
         prises, 471 U. S. 539, 559 (1985); Miami Herald Publish-
         ing Co. v. Tornillo, 418 U. S. 241, 256–257 (1974); accord,
         Pacific Gas & Elec. Co. v. Public Util. Comm’n of Cal., 475
         U. S. 1, 9 (1986) (plurality opinion). The right to eschew
         association for expressive purposes is likewise protected.
         Roberts v. United States Jaycees, 468 U. S. 609, 623 (1984)
         (“Freedom of association . . . plainly presupposes a free­
         dom not to associate”); see Pacific Gas & Elec., supra, at
         12 (“[F]orced associations that burden protected speech
         are impermissible”). As Justice Jackson memorably put it:
         “If there is any fixed star in our constitutional constella­
         tion, it is that no official, high or petty, can prescribe what
         shall be orthodox in politics, nationalism, religion, or other
         matters of opinion or force citizens to confess by word or
         act their faith therein.” West Virginia Bd. of Ed. v. Bar-
         nette, 319 U. S. 624, 642 (1943) (emphasis added).
            Compelling individuals to mouth support for views they
         find objectionable violates that cardinal constitutional
         command, and in most contexts, any such effort would be
         universally condemned. Suppose, for example, that the
         State of Illinois required all residents to sign a document
         expressing support for a particular set of positions on
         controversial public issues—say, the platform of one of the
         major political parties. No one, we trust, would seriously
         argue that the First Amendment permits this.
            Perhaps because such compulsion so plainly violates the
         Constitution, most of our free speech cases have involved
         restrictions on what can be said, rather than laws compel­
         ling speech. But measures compelling speech are at least
         as threatening.
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             Free speech serves many ends. It is essential to our
         democratic form of government, see, e.g., Garrison v.
         Louisiana, 379 U. S. 64, 74–75 (1964), and it furthers the
         search for truth, see, e.g., Thornhill v. Alabama, 310 U. S.
         88, 95 (1940). Whenever the Federal Government or a
         State prevents individuals from saying what they think on
         important matters or compels them to voice ideas with
         which they disagree, it undermines these ends.
             When speech is compelled, however, additional damage
         is done. In that situation, individuals are coerced into
         betraying their convictions. Forcing free and independent
         individuals to endorse ideas they find objectionable is
         always demeaning, and for this reason, one of our land­
         mark free speech cases said that a law commanding “in­
         voluntary affirmation” of objected-to beliefs would require
         “even more immediate and urgent grounds” than a law
         demanding silence. Barnette, supra, at 633; see also Riley,
         supra, at 796–797 (rejecting “deferential test” for com­
         pelled speech claims).
             Compelling a person to subsidize the speech of other
         private speakers raises similar First Amendment con­
         cerns. Knox, supra, at 309; United States v. United Foods,
         Inc., 533 U. S. 405, 410 (2001); Abood, supra, at 222, 234–
         235. As Jefferson famously put it, “to compel a man to
         furnish contributions of money for the propagation of
         opinions which he disbelieves and abhor[s] is sinful and
         tyrannical.” A Bill for Establishing Religious Freedom, in
         2 Papers of Thomas Jefferson 545 (J. Boyd ed. 1950) (em­
         phasis deleted and footnote omitted); see also Hudson, 475
         U. S., at 305, n. 15. We have therefore recognized that a
         “ ‘significant impingement on First Amendment rights’ ”
         occurs when public employees are required to provide
         financial support for a union that “takes many positions
         during collective bargaining that have powerful political
         and civic consequences.” Knox, supra, at 310–311 (quoting
         Ellis v. Railway Clerks, 466 U. S. 435, 455 (1984)).
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            Because the compelled subsidization of private speech
         seriously impinges on First Amendment rights, it cannot
         be casually allowed. Our free speech cases have identified
         “levels of scrutiny” to be applied in different contexts, and
         in three recent cases, we have considered the standard
         that should be used in judging the constitutionality of
         agency fees. See Knox, supra; Harris, supra; Friedrichs v.
         California Teachers Assn., 578 U. S. ___ (2016) (per cu-
         riam) (affirming decision below by equally divided Court).
            In Knox, the first of these cases, we found it sufficient to
         hold that the conduct in question was unconstitutional
         under even the test used for the compulsory subsidization
         of commercial speech. 567 U. S., at 309–310, 321–322.
         Even though commercial speech has been thought to enjoy
         a lesser degree of protection, see, e.g., Central Hudson Gas
         & Elec. Corp. v. Public Serv. Comm’n of N. Y., 447 U. S.
         557, 562–563 (1980), prior precedent in that area, specifi­
         cally United Foods, supra, had applied what we character­
         ized as “exacting” scrutiny, Knox, 567 U. S., at 310, a less
         demanding test than the “strict” scrutiny that might be
         thought to apply outside the commercial sphere. Under
         “exacting” scrutiny, we noted, a compelled subsidy must
         “serve a compelling state interest that cannot be achieved
         through means significantly less restrictive of associa-
         tional freedoms.” Ibid. (internal quotation marks and altera-
         tions omitted).
            In Harris, the second of these cases, we again found that
         an agency-fee requirement failed “exacting scrutiny.” 573
         U. S., at ___ (slip op., at 33). But we questioned whether
         that test provides sufficient protection for free speech
         rights, since “it is apparent that the speech compelled” in
         agency-fee cases “is not commercial speech.” Id., at ___
         (slip op., at 30).
            Picking up that cue, petitioner in the present case con­
         tends that the Illinois law at issue should be subjected to
         “strict scrutiny.” Brief for Petitioner 36. The dissent, on
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         the other hand, proposes that we apply what amounts to
         rational-basis review, that is, that we ask only whether a
         government employer could reasonably believe that the
         exaction of agency fees serves its interests. See post, at 4
         (KAGAN, J., dissenting) (“A government entity could rea­
         sonably conclude that such a clause was needed”). This
         form of minimal scrutiny is foreign to our free-speech
         jurisprudence, and we reject it here. At the same time, we
         again find it unnecessary to decide the issue of strict
         scrutiny because the Illinois scheme cannot survive under
         even the more permissive standard applied in Knox and
         Harris.
            In the remainder of this part of our opinion (Parts III–B
         and III–C), we will apply this standard to the justifica­
         tions for agency fees adopted by the Court in Abood.
         Then, in Parts IV and V, we will turn to alternative ra­
         tionales proffered by respondents and their amici.
                                       B
            In Abood, the main defense of the agency-fee arrange­
         ment was that it served the State’s interest in “labor
         peace,” 431 U. S., at 224. By “labor peace,” the Abood
         Court meant avoidance of the conflict and disruption that
         it envisioned would occur if the employees in a unit were
         represented by more than one union. In such a situation,
         the Court predicted, “inter-union rivalries” would foster
         “dissension within the work force,” and the employer could
         face “conflicting demands from different unions.” Id., at
         220–221. Confusion would ensue if the employer entered
         into and attempted to “enforce two or more agreements
         specifying different terms and conditions of employment.”
         Id., at 220. And a settlement with one union would be
         “subject to attack from [a] rival labor organizatio[n].” Id.,
         at 221.
            We assume that “labor peace,” in this sense of the term,
         is a compelling state interest, but Abood cited no evidence
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         that the pandemonium it imagined would result if agency
         fees were not allowed, and it is now clear that Abood’s
         fears were unfounded. The Abood Court assumed that
         designation of a union as the exclusive representative of
         all the employees in a unit and the exaction of agency fees
         are inextricably linked, but that is simply not true. Har-
         ris, supra, at ___ (slip op., at 31).
            The federal employment experience is illustrative.
         Under federal law, a union chosen by majority vote is
         designated as the exclusive representative of all the em­
         ployees, but federal law does not permit agency fees. See
         5 U. S. C. §§7102, 7111(a), 7114(a). Nevertheless, nearly a
         million federal employees—about 27% of the federal work
         force—are union members.1 The situation in the Postal
         Service is similar. Although permitted to choose an exclu­
         sive representative, Postal Service employees are not
         required to pay an agency fee, 39 U. S. C. §§1203(a),
         1209(c), and about 400,000 are union members.2 Like­
         wise, millions of public employees in the 28 States that
         have laws generally prohibiting agency fees are represented
         by unions that serve as the exclusive representatives of
         all the employees.3 Whatever may have been the case 41
         years ago when Abood was handed down, it is now unde­
         niable that “labor peace” can readily be achieved “through
         means significantly less restrictive of associational free­
         doms” than the assessment of agency fees. Harris, supra,
         at ___ (slip op., at 30) (internal quotation marks omitted).

         ——————
            1 See Bureau of Labor Statistics (BLS), Labor Force Statistics From

         the Current Population Survey (Table 42) (2017), https://www
         .bls.gov/cps/tables.htm (all Internet materials as visited June 26, 2018).
            2 See Union Membership and Coverage Database From the Current

         Population Survey (Jan. 21, 2018), unionstats.com.
            3 See National Conference of State Legislatures, Right-to-Work States

         (2018),     http://www.ncsl.org/research/labor-and-employment/right-to­
         work-laws-and-bills.aspx#chart; see also, e.g., Brief for Mackinac
         Center for Public Policy as Amicus Curiae 27–28, 34–36.
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                                       C
            In addition to the promotion of “labor peace,” Abood
         cited “the risk of ‘free riders’ ” as justification for agency
         fees, 431 U. S., at 224. Respondents and some of their
         amici endorse this reasoning, contending that agency fees
         are needed to prevent nonmembers from enjoying the
         benefits of union representation without shouldering the
         costs. Brief for Union Respondent 34–36; Brief for State
         Respondents 41–45; see, e.g., Brief for International
         Brotherhood of Teamsters as Amicus Curiae 3–5.
            Petitioner strenuously objects to this free-rider label.
         He argues that he is not a free rider on a bus headed for a
         destination that he wishes to reach but is more like a
         person shanghaied for an unwanted voyage.
            Whichever description fits the majority of public em­
         ployees who would not subsidize a union if given the op­
         tion, avoiding free riders is not a compelling interest. As
         we have noted, “free-rider arguments . . . are generally
         insufficient to overcome First Amendment objections.”
         Knox, 567 U. S., at 311. To hold otherwise across the
         board would have startling consequences. Many private
         groups speak out with the objective of obtaining govern­
         ment action that will have the effect of benefiting non­
         members. May all those who are thought to benefit from
         such efforts be compelled to subsidize this speech?
            Suppose that a particular group lobbies or speaks out on
         behalf of what it thinks are the needs of senior citizens or
         veterans or physicians, to take just a few examples. Could
         the government require that all seniors, veterans, or
         doctors pay for that service even if they object? It has
         never been thought that this is permissible. “[P]rivate
         speech often furthers the interests of nonspeakers,” but
         “that does not alone empower the state to compel the
         speech to be paid for.” Lehnert v. Ferris Faculty Assn., 500
         U. S. 507, 556 (1991) (Scalia, J., concurring in judgment in
         part and dissenting in part). In simple terms, the First
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         Amendment does not permit the government to compel a
         person to pay for another party’s speech just because the
         government thinks that the speech furthers the interests
         of the person who does not want to pay.4
            Those supporting agency fees contend that the situation
         here is different because unions are statutorily required to
         “represen[t] the interests of all public employees in the
         unit,” whether or not they are union members. §315/6(d);
         see, e.g., Brief for State Respondents 40–41, 45; post, at 7
         (KAGAN, J., dissenting). Why might this matter?
            We can think of two possible arguments. It might be
         argued that a State has a compelling interest in requiring
         the payment of agency fees because (1) unions would
         otherwise be unwilling to represent nonmembers or (2) it
         would be fundamentally unfair to require unions to pro­
         vide fair representation for nonmembers if nonmembers
         were not required to pay. Neither of these arguments is
         sound.
            First, it is simply not true that unions will refuse to
         serve as the exclusive representative of all employees in
         the unit if they are not given agency fees. As noted, un­
         ions represent millions of public employees in jurisdictions
         that do not permit agency fees. No union is ever com­
         pelled to seek that designation. On the contrary, designa­
         tion as exclusive representative is avidly sought.5 Why is
         ——————
            4 The collective-action problem cited by the dissent, post, at 6, is not

         specific to the agency-fee context. And contrary to the dissent’s sugges­
         tion, it is often not practical for an entity that lobbies or advocates on
         behalf of the members of a group to tailor its message so that only its
         members benefit from its efforts. Consider how effective it would be for
         a group that advocates on behalf of, say, seniors, to argue that a new
         measure should apply only to its dues-paying members.
            5 In order to obtain that status, a union must petition to be recognized

         and campaign to win majority approval. Ill. Comp. Stat., ch. 5,
         §315/9(a) (2016); see, e.g., County of Du Page v. Illinois Labor Relations
         Bd., 231 Ill. 2d 593, 597–600, 900 N. E. 2d 1095, 1098–1099 (2008).
         And unions eagerly seek this support. See, e.g., Brief for Employees of
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         this so?
            Even without agency fees, designation as the exclusive
         representative confers many benefits. As noted, that
         status gives the union a privileged place in negotiations
         over wages, benefits, and working conditions.            See
         §315/6(c). Not only is the union given the exclusive right
         to speak for all the employees in collective bargaining, but
         the employer is required by state law to listen to and to
         bargain in good faith with only that union. §315/7. Des­
         ignation as exclusive representative thus “results in a
         tremendous increase in the power” of the union. American
         Communications Assn. v. Douds, 339 U. S. 382, 401
         (1950).
            In addition, a union designated as exclusive representa­
         tive is often granted special privileges, such as obtaining
         information about employees, see §315/6(c), and having
         dues and fees deducted directly from employee wages,
         §§315/6(e)–(f ). The collective-bargaining agreement in
         this case guarantees a long list of additional privileges.
         See App. 138–143.
            These benefits greatly outweigh any extra burden im­
         posed by the duty of providing fair representation for
         nonmembers. What this duty entails, in simple terms, is
         an obligation not to “act solely in the interests of [the
         union’s] own members.” Brief for State Respondents 41;
         see Cintron v. AFSCME, Council 31, No. S–CB–16–032,
         p. 1, 34 PERI ¶105 (ILRB Dec. 13, 2017) (union may not
         intentionally direct “animosity” toward nonmembers based
         on their “dissident union practices”); accord, 14 Penn
         Plaza LLC v. Pyett, 556 U. S. 247, 271 (2009); Vaca v.
         Sipes, 386 U. S. 171, 177 (1967).
            What does this mean when it comes to the negotiation of
         a contract? The union may not negotiate a collective-
         bargaining agreement that discriminates against non­
         ——————
         the State of Minnesota Court System as Amici Curiae 9–17.
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         members, see Steele v. Louisville & Nashville R. Co., 323
         U. S. 192, 202–203 (1944), but the union’s bargaining
         latitude would be little different if state law simply prohib­
         ited public employers from entering into agreements that
         discriminate in that way. And for that matter, it is ques­
         tionable whether the Constitution would permit a public-
         sector employer to adopt a collective-bargaining agree­
         ment that discriminates against nonmembers. See id., at
         198–199, 202 (analogizing a private-sector union’s fair-
         representation duty to the duty “the Constitution imposes
         upon a legislature to give equal protection to the interests
         of those for whom it legislates”); cf. Rumsfeld v. Forum for
         Academic and Institutional Rights, Inc., 547 U. S. 47, 69
         (2006) (recognizing that government may not “impose
         penalties or withhold benefits based on membership in a
         disfavored group” where doing so “ma[kes] group member­
         ship less attractive”). To the extent that an employer
         would be barred from acceding to a discriminatory agree­
         ment anyway, the union’s duty not to ask for one is super­
         fluous. It is noteworthy that neither respondents nor any
         of the 39 amicus briefs supporting them—nor the dis­
         sent—has explained why the duty of fair representation
         causes public-sector unions to incur significantly greater
         expenses than they would otherwise bear in negotiating
         collective-bargaining agreements.
            What about the representation of nonmembers in griev­
         ance proceedings? Unions do not undertake this activity
         solely for the benefit of nonmembers—which is why Illi­
         nois law gives a public-sector union the right to send a
         representative to such proceedings even if the employee
         declines union representation. §315/6(b). Representation
         of nonmembers furthers the union’s interest in keeping
         control of the administration of the collective-bargaining
         agreement, since the resolution of one employee’s griev­
         ance can affect others. And when a union controls the
         grievance process, it may, as a practical matter, effectively
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         subordinate “the interests of [an] individual em-
         ployee . . . to the collective interests of all employees in the
         bargaining unit.” Alexander v. Gardner-Denver Co., 415
         U. S. 36, 58, n. 19 (1974); see Stahulak v. Chicago, 184
         Ill. 2d 176, 180–181, 703 N. E. 2d 44, 46–47 (1998); Ma-
         honey v. Chicago, 293 Ill. App. 3d 69, 73–74, 687 N. E. 2d
         132, 135–137 (1997) (union has “ ‘discretion to refuse to
         process’ ” a grievance, provided it does not act “arbi­
         trar[ily]” or “in bad faith” (emphasis deleted)).
            In any event, whatever unwanted burden is imposed by
         the representation of nonmembers in disciplinary matters
         can be eliminated “through means significantly less re­
         strictive of associational freedoms” than the imposition of
         agency fees. Harris, 573 U. S., at ___ (slip op., at 30)
         (internal quotation marks omitted). Individual nonmem­
         bers could be required to pay for that service or could be
         denied union representation altogether.6 Thus, agency
         fees cannot be sustained on the ground that unions would
         otherwise be unwilling to represent nonmembers.
            Nor can such fees be justified on the ground that it
         would otherwise be unfair to require a union to bear the
         duty of fair representation. That duty is a necessary
         concomitant of the authority that a union seeks when it
         chooses to serve as the exclusive representative of all the
         employees in a unit. As explained, designating a union as
         the exclusive representative of nonmembers substantially
         restricts the nonmembers’ rights. Supra, at 2–3. Protec­

         ——————
            6 There is precedent for such arrangements. Some States have laws

         providing that, if an employee with a religious objection to paying an
         agency fee “requests the [union] to use the grievance procedure or
         arbitration procedure on the employee’s behalf, the [union] is author­
         ized to charge the employee for the reasonable cost of using such
         procedure.” E.g., Cal. Govt. Code Ann. §3546.3 (West 2010); cf. Ill.
         Comp. Stat., ch. 5, §315/6(g) (2016). This more tailored alternative, if
         applied to other objectors, would prevent free ridership while imposing
         a lesser burden on First Amendment rights.
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         tion of their interests is placed in the hands of the union,
         and if the union were free to disregard or even work
         against those interests, these employees would be wholly
         unprotected. That is why we said many years ago that
         serious “constitutional questions [would] arise” if the
         union were not subject to the duty to represent all employ­
         ees fairly. Steele, supra, at 198.
            In sum, we do not see any reason to treat the free-rider
         interest any differently in the agency-fee context than in
         any other First Amendment context. See Knox, 567 U. S.,
         at 311, 321. We therefore hold that agency fees cannot be
         upheld on free-rider grounds.
                                       IV
           Implicitly acknowledging the weakness of Abood’s own
         reasoning, proponents of agency fees have come forward
         with alternative justifications for the decision, and we now
         address these arguments.
                                       A
            The most surprising of these new arguments is the
         Union respondent’s originalist defense of Abood. Accord­
         ing to this argument, Abood was correctly decided because
         the First Amendment was not originally understood to
         provide any protection for the free speech rights of public
         employees. Brief for Union Respondent 2–3, 17–20.
            As an initial matter, we doubt that the Union—or its
         members—actually want us to hold that public employees
         have “no [free speech] rights.” Id., at 1. Cf., e.g., Brief for
         National Treasury Employees Union as Amicus Curiae in
         Garcetti v. Ceballos, O. T. 2005, No. 04–473, p. 7 (arguing
         for “broa[d]” public-employee First Amendment rights);
         Brief for AFL–CIO as Amicus Curiae in No. 04–473
         (similar).
            It is particularly discordant to find this argument in a
         brief that trumpets the importance of stare decisis. See
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         Brief for Union Respondent 47–57. Taking away free
         speech protection for public employees would mean
         overturning decades of landmark precedent. Under the
         Union’s theory, Pickering v. Board of Ed. of Township
         High School Dist. 205, Will Cty., 391 U. S. 563 (1968), and
         its progeny would fall. Yet Pickering, as we will discuss, is
         now the foundation for respondents’ chief defense of
         Abood. And indeed, Abood itself would have to go if public
         employees have no free speech rights, since Abood holds
         that the First Amendment prohibits the exaction of agency
         fees for political or ideological purposes. 431 U. S., at 234–
         235 (finding it “clear” that “a government may not require
         an individual to relinquish rights guaranteed him by the
         First Amendment as a condition of public employment”).
         Our political patronage cases would be doomed. See, e.g.,
         Rutan v. Republican Party of Ill., 497 U. S. 62 (1990);
         Branti v. Finkel, 445 U. S. 507 (1980); Elrod v. Burns, 427
         U. S. 347 (1976). Also imperiled would be older precedents
         like Wieman v. Updegraff, 344 U. S. 183 (1952) (loyalty
         oaths), Shelton v. Tucker, 364 U. S. 479 (1960) (disclosure
         of memberships and contributions), and Keyishian v.
         Board of Regents of Univ. of State of N. Y., 385 U. S. 589
         (1967) (subversive speech). Respondents presumably want
         none of this, desiring instead that we apply the
         Constitution’s supposed original meaning only when it
         suits them—to retain the part of Abood that they like. See
         Tr. of Oral Arg. 56–57. We will not engage in this halfway
         originalism.
            Nor, in any event, does the First Amendment’s original
         meaning support the Union’s claim. The Union offers no
         persuasive founding-era evidence that public employees
         were understood to lack free speech protections. While it
         observes that restrictions on federal employees’ activities
         have existed since the First Congress, most of its historical
         examples involved limitations on public officials’ outside
         business dealings, not on their speech. See Ex parte
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         Curtis, 106 U. S. 371, 372–373 (1882). The only early
         speech restrictions the Union identifies are an 1806
         statute prohibiting military personnel from using
         “ ‘contemptuous or disrespectful words against the
         President’ ” and other officials, and an 1801 directive
         limiting electioneering by top government employees.
         Brief for Union Respondent 3. But those examples at most
         show that the government was understood to have power
         to limit employee speech that threatened important
         governmental interests (such as maintaining military
         discipline and preventing corruption)—not that public
         employees’ speech was entirely unprotected. Indeed, more
         recently this Court has upheld similar restrictions even
         while recognizing that government employees possess
         First Amendment rights. See, e.g., Brown v. Glines, 444
         U. S. 348, 353 (1980) (upholding military restriction on
         speech that threatened troop readiness); Civil Service
         Comm’n v. Letter Carriers, 413 U. S. 548, 556–557 (1973)
         (upholding limits on public employees’ political activities).
             Ultimately, the Union relies, not on founding-era
         evidence, but on dictum from a 1983 opinion of this Court
         stating that, “[f]or most of th[e 20th] century, the
         unchallenged dogma was that a public employee had no
         right to object to conditions placed upon the terms of
         employment—including those which restricted the
         exercise of constitutional rights.” Connick v. Myers, 461
         U. S. 138, 143; see Brief for Union Respondent 2, 17. Even
         on its own terms, this dictum about 20th-century views
         does not purport to describe how the First Amendment
         was understood in 1791. And a careful examination of the
         decisions by this Court that Connick cited to support its
         dictum, see 461 U. S., at 144, reveals that none of them
         rested on the facile premise that public employees are
         unprotected by the First Amendment. Instead, they
         considered (much as we do today) whether particular
         speech restrictions were “necessary to protect”
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         fundamental government interests. Curtis, supra, at 374.
           The Union has also failed to show that, even if public
         employees enjoyed free speech rights, the First
         Amendment was nonetheless originally understood to
         allow forced subsidies like those at issue here. We can
         safely say that, at the time of the adoption of the First
         Amendment, no one gave any thought to whether public-
         sector unions could charge nonmembers agency fees.
         Entities resembling labor unions did not exist at the
         founding, and public-sector unions did not emerge until
         the mid-20th century.          The idea of public-sector
         unionization and agency fees would astound those who
         framed and ratified the Bill of Rights.7 Thus, the Union
         cannot point to any accepted founding-era practice that
         even remotely resembles the compulsory assessment of
         agency fees from public-sector employees. We do know,
         however, that prominent members of the founding
         generation condemned laws requiring public employees to
         affirm or support beliefs with which they disagreed. As
         noted, Jefferson denounced compelled support for such
         beliefs as “ ‘sinful and tyrannical,’ ” supra, at 9, and others
         expressed similar views.8
         ——————
            7 Indeed, under common law, “collective bargaining was unlawful,”

         Teamsters v. Terry, 494 U. S. 558, 565–566 (1990) (plurality opinion);
         see N. Citrine, Trade Union Law 4–7, 9–10 (2d ed. 1960); Notes, Legal­
         ity of Trade Unions at Common Law, 25 Harv. L. Rev. 465, 466 (1912),
         and into the 20th century, every individual employee had the “liberty of
         contract” to “sell his labor upon such terms as he deem[ed] proper,”
         Adair v. United States, 208 U. S. 161, 174–175 (1908); see R. Morris,
         Government and Labor in Early America 208, 529 (1946). So even the
         concept of a private third-party entity with the power to bind employees
         on the terms of their employment likely would have been foreign to the
         Founders. We note this only to show the problems inherent in the
         Union respondent’s argument; we are not in any way questioning the
         foundations of modern labor law.
            8 See, e.g., Ellsworth, The Landholder, VII (1787), in Essays on the

         Constitution of the United States 167–171 (P. Ford ed. 1892); Webster,
         On Test Laws, Oaths of Allegiance and Abjuration, and Partial Exclu­
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           In short, the Union has offered no basis for concluding
         that Abood is supported by the original understanding of
         the First Amendment.
                                        B
            The principal defense of Abood advanced by respondents
         and the dissent is based on our decision in Pickering, 391
         U. S. 563, which held that a school district violated the
         First Amendment by firing a teacher for writing a letter
         critical of the school administration. Under Pickering and
         later cases in the same line, employee speech is largely
         unprotected if it is part of what the employee is paid to do,
         see Garcetti v. Ceballos, 547 U. S. 410, 421–422 (2006), or
         if it involved a matter of only private concern, see Connick,
         supra, at 146–149. On the other hand, when a public
         employee speaks as a citizen on a matter of public concern,
         the employee’s speech is protected unless “ ‘the interest of
         the state, as an employer, in promoting the efficiency of
         the public services it performs through its employees’
         outweighs ‘the interests of the [employee], as a citizen, in
         commenting upon matters of public concern.’ ” Harris, 573
         U. S., at ___ (slip op., at 35) (quoting Pickering, supra, at
         568). Pickering was the centerpiece of the defense of
         Abood in Harris, see 573 U. S., at ___–___ (slip op., at 17–
         21) (KAGAN, J., dissenting), and we found the argument
         unpersuasive, see id., at ___–___ (slip op., at 34–37). The
         intervening years have not improved its appeal.
                                      1
           As we pointed out in Harris, Abood was not based on
         Pickering. 573 U. S., at ___, and n. 26 (slip op., at 34, and
         n. 26). The Abood majority cited the case exactly once—in
         a footnote—and then merely to acknowledge that “there
         may be limits on the extent to which an employee in a
         ——————
         sions from Office, in A Collection of Essays and Fugitiv[e] Writings
         151–153 (1790).
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         sensitive or policymaking position may freely criticize his
         superiors and the policies they espouse.” 431 U. S., at 230,
         n. 27. That aside has no bearing on the agency-fee issue
         here.9
            Respondents’ reliance on Pickering is thus “an effort to
         find a new justification for the decision in Abood.” Harris,
         supra, at ___ (slip op., at 34). And we have previously
         taken a dim view of similar attempts to recast problematic
         First Amendment decisions. See, e.g., Citizens United v.
         Federal Election Comm’n, 558 U. S. 310, 348–349, 363
         (2010) (rejecting efforts to recast Austin v. Michigan
         Chamber of Commerce, 494 U. S. 652 (1990)); see also
         Citizens United, supra, at 382–385 (ROBERTS, C. J., con­
         curring). We see no good reason, at this late date, to try to
         shoehorn Abood into the Pickering framework.
                                         2
           Even if that were attempted, the shoe would be a pain­
         ful fit for at least three reasons.
           First, the Pickering framework was developed for use in
         a very different context—in cases that involve “one em­
         ployee’s speech and its impact on that employee’s public
         responsibilities.” United States v. Treasury Employees,
         513 U. S. 454, 467 (1995). This case, by contrast, involves
         a blanket requirement that all employees subsidize speech
         with which they may not agree. While we have sometimes
         looked to Pickering in considering general rules that affect
         broad categories of employees, we have acknowledged that

         ——————
           9 JusticePowell’s separate opinion did invoke Pickering in a relevant
         sense, but he did so only to acknowledge the State’s relatively greater
         interest in regulating speech when it acts as employer than when it
         acts as sovereign. Abood v. Detroit Bd. of Ed., 431 U. S. 209, 259 (1977)
         (concurring in judgment). In the very next sentence, he explained that
         “even in public employment, a significant impairment of First Amend­
         ment rights must survive exacting scrutiny.” Ibid. (internal quotation
         marks omitted). That is the test we apply today.
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         the standard Pickering analysis requires modification in
         that situation. See 513 U. S., at 466–468, and n. 11. A
         speech-restrictive law with “widespread impact,” we have
         said, “gives rise to far more serious concerns than could
         any single supervisory decision.” Id., at 468. Therefore,
         when such a law is at issue, the government must shoul­
         der a correspondingly “heav[ier]” burden, id., at 466, and
         is entitled to considerably less deference in its assessment
         that a predicted harm justifies a particular impingement
         on First Amendment rights, see id., at 475–476, n. 21;
         accord, id., at 482–483 (O’Connor, J., concurring in judg­
         ment in part and dissenting in part). The end product of
         those adjustments is a test that more closely resembles
         exacting scrutiny than the traditional Pickering analysis.
            The core collective-bargaining issue of wages and bene­
         fits illustrates this point. Suppose that a single employee
         complains that he or she should have received a 5% raise.
         This individual complaint would likely constitute a matter
         of only private concern and would therefore be unprotected
         under Pickering. But a public-sector union’s demand for a
         5% raise for the many thousands of employees it repre­
         sents would be another matter entirely. Granting such a
         raise could have a serious impact on the budget of the
         government unit in question, and by the same token,
         denying a raise might have a significant effect on the
         performance of government services. When a large num­
         ber of employees speak through their union, the category
         of speech that is of public concern is greatly enlarged, and
         the category of speech that is of only private concern is
         substantially shrunk. By disputing this, post, at 13–14,
         the dissent denies the obvious.
            Second, the Pickering framework fits much less well
         where the government compels speech or speech subsidies
         in support of third parties. Pickering is based on the
         insight that the speech of a public-sector employee may
         interfere with the effective operation of a government
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         office. When a public employer does not simply restrict
         potentially disruptive speech but commands that its em­
         ployees mouth a message on its own behalf, the calculus is
         very different. Of course, if the speech in question is part
         of an employee’s official duties, the employer may insist
         that the employee deliver any lawful message. See Gar-
         cetti, 547 U. S., at 421–422, 425–426. Otherwise, however,
         it is not easy to imagine a situation in which a public
         employer has a legitimate need to demand that its em­
         ployees recite words with which they disagree. And we
         have never applied Pickering in such a case.
            Consider our decision in Connick. In that case, we held
         that an assistant district attorney’s complaints about the
         supervisors in her office were, for the most part, matters of
         only private concern. 461 U. S., at 148. As a result, we
         held, the district attorney could fire her for making those
         comments. Id., at 154. Now, suppose that the assistant
         had not made any critical comments about the supervisors
         but that the district attorney, out of the blue, demanded
         that she circulate a memo praising the supervisors.
         Would her refusal to go along still be a matter of purely
         private concern? And if not, would the order be justified
         on the ground that the effective operation of the office
         demanded that the assistant voice complimentary senti­
         ments with which she disagreed? If Pickering applies
         at all to compelled speech—a question that we do not
         decide—it would certainly require adjustment in that
         context.
            Third, although both Pickering and Abood divided
         speech into two categories, the cases’ categorization
         schemes do not line up. Superimposing the Pickering
         scheme on Abood would significantly change the Abood
         regime.
            Let us first look at speech that is not germane to collec­
         tive bargaining but instead concerns political or ideologi­
         cal issues. Under Abood, a public employer is flatly pro­
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         hibited from permitting nonmembers to be charged for
         this speech, but under Pickering, the employees’ free
         speech interests could be overcome if a court found that
         the employer’s interests outweighed the employees’.
           A similar problem arises with respect to speech that is
         germane to collective bargaining. The parties dispute how
         much of this speech is of public concern, but respondents
         concede that much of it falls squarely into that category.
         See Tr. of Oral Arg. 47, 65. Under Abood, nonmembers
         may be required to pay for all this speech, but Pickering
         would permit that practice only if the employer’s interests
         outweighed those of the employees. Thus, recasting Abood
         as an application of Pickering would substantially alter
         the Abood scheme.
           For all these reasons, Pickering is a poor fit indeed.
                                     V
           Even if we were to apply some form of Pickering, Illinois’
         agency-fee arrangement would not survive.
                                      A
           Respondents begin by suggesting that union speech in
         collective-bargaining and grievance proceedings should be
         treated like the employee speech in Garcetti, i.e., as speech
         “pursuant to [an employee’s] official duties,” 547 U. S., at
         421. Many employees, in both the public and private
         sectors, are paid to write or speak for the purpose of fur­
         thering the interests of their employers. There are laws
         that protect public employees from being compelled to say
         things that they reasonably believe to be untrue or im­
         proper, see id., at 425–426, but in general when public
         employees are performing their job duties, their speech
         may be controlled by their employer. Trying to fit union
         speech into this framework, respondents now suggest that
         the union speech funded by agency fees forms part of the
         official duties of the union officers who engage in the
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         speech. Brief for Union Respondent 22–23; see Brief for
         State Respondents 23–24.
            This argument distorts collective bargaining and griev­
         ance adjustment beyond recognition. When an employee
         engages in speech that is part of the employee’s job duties,
         the employee’s words are really the words of the employer.
         The employee is effectively the employer’s spokesperson.
         But when a union negotiates with the employer or repre­
         sents employees in disciplinary proceedings, the union
         speaks for the employees, not the employer. Otherwise,
         the employer would be negotiating with itself and disput­
         ing its own actions. That is not what anybody under­
         stands to be happening.
            What is more, if the union’s speech is really the employ­
         er’s speech, then the employer could dictate what the
         union says. Unions, we trust, would be appalled by such a
         suggestion. For these reasons, Garcetti is totally inappo­
         site here.
                                        B
           Since the union speech paid for by agency fees is not
         controlled by Garcetti, we move on to the next step of the
         Pickering framework and ask whether the speech is on a
         matter of public or only private concern. In Harris, the
         dissent’s central argument in defense of Abood was that
         union speech in collective bargaining, including speech
         about wages and benefits, is basically a matter of only
         private interest. See 573 U. S., at ___–___ (slip op., at 19–
         20) (KAGAN, J., dissenting). We squarely rejected that
         argument, see id., at ___–___ (slip op., at 35–36), and the
         facts of the present case substantiate what we said at that
         time: “[I]t is impossible to argue that the level of . . . state
         spending for employee benefits . . . is not a matter of great
         public concern,” id., at ___ (slip op., at 36).
           Illinois, like some other States and a number of counties
         and cities around the country, suffers from severe budget
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         problems.10 As of 2013, Illinois had nearly $160 billion in
         unfunded pension and retiree healthcare liabilities.11 By
         2017, that number had only grown, and the State was
         grappling with $15 billion in unpaid bills.12 We are told
         that a “quarter of the budget is now devoted to paying
         down” those liabilities.13 These problems and others led
         Moody’s and S&P to downgrade Illinois’ credit rating to
         “one step above junk”—the “lowest ranking on record for a
         U. S. state.”14
           The Governor, on one side, and public-sector unions, on
         the other, disagree sharply about what to do about these
         problems. The State claims that its employment-related
         debt is “ ‘squeezing core programs in education, public
         safety, and human services, in addition to limiting [the
         State’s] ability to pay [its] bills.’ ” Securities Act of 1933
         Release No. 9389, 105 S. E. C. Docket 3381 (2013). It
         therefore “told the Union that it would attempt to address
         th[e financial] crisis, at least in part, through collective
         bargaining.” Board Decision 12–13. And “the State’s
         ——————
            10 See Brief for State of Michigan et al. as Amici Curiae 9–24. Na­

         tionwide, the cost of state and local employees’ wages and benefits, for
         example, is nearly $1.5 trillion—more than half of those jurisdictions’
         total expenditures. See Dept. of Commerce, Bureau of Economic
         Analysis, National Data, GDP & Personal Income, Table 6.2D, line 92
         (Aug. 3, 2017), and Table 3.3, line 37 (May 30, 2018), https://www.bea.
         gov/iTable/iTable.cfm?reqid=19&step=2#reqid=19&step=2&isuri=1&19
         21=survey. And many States and cities struggle with unfunded pen­
         sion and retiree healthcare liabilities and other budget issues.
            11 PEW Charitable Trusts, Fiscal 50: State Trends and Analysis (up­

         dated May 17, 2016), http://www.pewtrusts.org/en/research-and­
         analysis/data-visualizations/2014/fiscal-50#ind4.
            12 See Brief for Jason R. Barclay et al. as Amici Curiae 9; M. Egan,

         How Illinois Became America’s Most Messed-Up State, CNN Money
         (July 1, 2017), https://cnnmon.ie/2tp9NX5.
            13 Brief for Jason R. Barclay et al. as Amici Curiae 9.
            14 E. Campbell, S&P, Moody’s Downgrade Illinois to Near Junk, Low­

         est Ever for a U. S. State, Bloomberg (June 1, 2017), https://
         bloom.bg/2roEJUc.
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         desire for savings” in fact “dr[o]ve [its] bargaining” posi­
         tions on matters such as health-insurance benefits and
         holiday, overtime, and promotion policies. Id., at 13;
         Illinois Dept. of Central Management Servs. v. AFSCME,
         Council 31, No. S–CB–16–17 etc., 33 PERI ¶67 (ILRB Dec.
         13, 2016) (ALJ Decision), pp. 26–28, 63–66, 224. But
         when the State offered cost-saving proposals on these
         issues, the Union countered with very different sugges­
         tions. Among other things, it advocated wage and tax
         increases, cutting spending “to Wall Street financial insti­
         tutions,” and reforms to Illinois’ pension and tax systems
         (such as closing “corporate tax loopholes,” “[e]xpanding the
         base of the state sales tax,” and “allowing an income tax
         that is adjusted in accordance with ability to pay”). Id., at
         27–28. To suggest that speech on such matters is not of
         great public concern—or that it is not directed at the
         “public square,” post, at 16 (KAGAN, J., dissenting)—is to
         deny reality.
            In addition to affecting how public money is spent,
         union speech in collective bargaining addresses many
         other important matters. As the examples offered by
         respondents’ own amici show, unions express views on a
         wide range of subjects—education, child welfare,
         healthcare, and minority rights, to name a few. See, e.g.,
         Brief for American Federation of Teachers as Amicus
         Curiae 15–27; Brief for Child Protective Service Workers
         et al. as Amici Curiae 5–13; Brief for Human Rights Cam­
         paign et al. as Amici Curiae 10–17; Brief for National
         Women’s Law Center et al. as Amici Curiae 14–30. What
         unions have to say on these matters in the context of
         collective bargaining is of great public importance.
            Take the example of education, which was the focus of
         briefing and argument in Friedrichs. The public im­
         portance of subsidized union speech is especially apparent
         in this field, since educators make up by far the largest
         category of state and local government employees, and
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         education is typically the largest component of state and
         local government expenditures.15
            Speech in this area also touches on fundamental ques­
         tions of education policy. Should teacher pay be based on
         seniority, the better to retain experienced teachers? Or
         should schools adopt merit-pay systems to encourage
         teachers to get the best results out of their students?16
         Should districts transfer more experienced teachers to the
         lower performing schools that may have the greatest need
         for their skills, or should those teachers be allowed to stay
         where they have put down roots?17 Should teachers be
         given tenure protection and, if so, under what conditions?
         On what grounds and pursuant to what procedures should
         teachers be subject to discipline or dismissal? How should
         teacher performance and student progress be measured—
         by standardized tests or other means?
            Unions can also speak out in collective bargaining on
         controversial subjects such as climate change,18 the Con­
         federacy,19 sexual orientation and gender identity,20 evolu­
         tion,21 and minority religions.22 These are sensitive politi­
         ——————
           15 See  National Association of State Budget Officers, Summary:
         Spring 2018 Fiscal Survey of States 2 (June 14, 2018),
         http://www.nasbo.org; ProQuest Statistical Abstract of the United
         States: 2018, pp. 306, Table 476, 321, Table 489.
           16 See Rogers, School Districts ‘Race to the Top’ Despite Teacher Dis­

         pute, Marin Independent J., June 19, 2010.
           17 See Sawchuk, Transferring Top Teachers Has Benefits: Study

         Probes Moving Talent to Low-Performing Schools, Education Week,
         Nov. 13, 2013, pp. 1, 13.
           18 See Tucker, Textbooks Equivocate on Global Warming: Stanford

         Study Finds Portrayal ‘Dishonest,’ San Francisco Chronicle, Nov. 24,
         2015, p. C1.
           19 See Reagan, Anti-Confederacy Movement Rekindles Texas Text­

         book Controversy, San Antonio Current, Aug. 4, 2015.
           20 See Watanabe, How To Teach Gay Issues in 1st Grade? A New Law

         Requiring California Schools To Have Lessons About LGBT Americans
         Raises Tough Questions, L. A. Times, Oct. 16, 2011, p. A1.
           21 See Goodstein, A Web of Faith, Law and Science in Evolution Suit,
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         cal topics, and they are undoubtedly matters of profound
         “ ‘value and concern to the public.’ ” Snyder v. Phelps, 562
         U. S. 443, 453 (2011). We have often recognized that such
         speech “ ‘occupies the highest rung of the hierarchy of First
         Amendment values’ ” and merits “ ‘special protection.’ ” Id.,
         at 452.
             What does the dissent say about the prevalence of such
         issues? The most that it is willing to admit is that “some”
         issues that arise in collective bargaining “raise important
         non-budgetary disputes.” Post, at 17. Here again, the
         dissent refuses to recognize what actually occurs in public-
         sector collective bargaining.
             Even union speech in the handling of grievances may be
         of substantial public importance and may be directed at
         the “public square.” Post, at 16. For instance, the Union
         respondent in this case recently filed a grievance seeking
         to compel Illinois to appropriate $75 million to fund a 2%
         wage increase. State v. AFSCME Council 31, 2016 IL
         118422, 51 N. E. 3d 738, 740–742, and n. 4. In short, the
         union speech at issue in this case is overwhelmingly of
         substantial public concern.
                                        C
           The only remaining question under Pickering is whether
         the State’s proffered interests justify the heavy burden
         that agency fees inflict on nonmembers’ First Amendment
         interests. We have already addressed the state interests
         asserted in Abood—promoting “labor peace” and avoiding
         free riders, see supra, at 11–18—and we will not repeat
         that analysis.
           In Harris and this case, defenders of Abood have as-
         serted a different state interest—in the words of the Harris
         dissent, the State’s “interest in bargaining with an ade­
         ——————
         N. Y. Times, Sept. 26, 2005, p. A1.
           22 See Golden, Defending the Faith: New Battleground in Textbook

         Wars: Religion in History, Wall St. J., Jan. 25, 2006, p. A1.
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         quately funded exclusive bargaining agent.” 573 U. S., at
         ___ (KAGAN, J., dissenting) (slip op., at 7); see also post, at
         6–7 (KAGAN, J., dissenting). This was not “the interest
         Abood recognized and protected,” Harris, supra, at ___
         (slip op., at 7) (KAGAN, J., dissenting), and, in any event, it
         is insufficient.
            Although the dissent would accept without any serious
         independent evaluation the State’s assertion that the
         absence of agency fees would cripple public-sector unions
         and thus impair the efficiency of government operations,
         see post, at 8–9, 11, ample experience, as we have noted,
         supra, at 12, shows that this is questionable.
            Especially in light of the more rigorous form of Pickering
         analysis that would apply in this context, see supra, at 23–
         25, the balance tips decisively in favor of the employees’
         free speech rights.23
         ——————
            23 Claiming that our decision will hobble government operations, the

         dissent asserts that it would prevent a government employer from
         taking action against disruptive non-unionized employees in two
         carefully constructed hypothetical situations. See post, at 17–18. Both
         hypotheticals are short on potentially important details, but in any
         event, neither would be affected by our decision in this case. Rather,
         both would simply call for the application of the standard Pickering
         test.
            In one of the hypotheticals, teachers “protest merit pay in the school
         cafeteria.” Post, at 17. If such a case actually arose, it would be im­
         portant to know, among other things, whether the teachers involved
         were supposed to be teaching in their classrooms at the time in ques­
         tion and whether the protest occurred in the presence of students
         during the student lunch period. If both those conditions were met, the
         teachers would presumably be violating content-neutral rules regarding
         their duty to teach at specified times and places, and their conduct
         might well have a disruptive effect on the educational process. Thus, in
         the dissent’s hypothetical, the school’s interests might well outweigh
         those of the teachers, but in this hypothetical case, as in all Pickering
         cases, the particular facts would be very important.
            In the other hypothetical, employees agitate for a better health plan
         “at various inopportune times and places.” Post, at 17. Here, the lack
         of factual detail makes it impossible to evaluate how the Pickering
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            We readily acknowledge, as Pickering did, that “the
         State has interests as an employer in regulating the
         speech of its employees that differ significantly from those
         it possesses in connection with regulation of the speech of
         the citizenry in general.” 391 U. S., at 568. Our analysis
         is consistent with that principle. The exacting scrutiny
         standard we apply in this case was developed in the con­
         text of commercial speech, another area where the gov­
         ernment has traditionally enjoyed greater-than-usual
         power to regulate speech. See supra, at 10. It is also not
         disputed that the State may require that a union serve as
         exclusive bargaining agent for its employees—itself a
         significant impingement on associational freedoms that
         would not be tolerated in other contexts. We simply draw
         the line at allowing the government to go further still and
         require all employees to support the union irrespective of
         whether they share its views. Nothing in the Pickering
         line of cases requires us to uphold every speech restriction
         the government imposes as an employer. See Pickering,
         supra, at 564–566 (holding teacher’s dismissal for criticiz­
         ing school board unconstitutional); Rankin v. McPherson,
         483 U. S. 378, 392 (1987) (holding clerical employ-
         ee’s dismissal for supporting assassination attempt on
         President unconstitutional); Treasury Employees, 513
         U. S., at 477 (holding federal-employee honoraria ban
         unconstitutional).
                                     VI
           For the reasons given above, we conclude that public-
         sector agency-shop arrangements violate the First
         Amendment, and Abood erred in concluding otherwise.
         There remains the question whether stare decisis nonethe­
         less counsels against overruling Abood. It does not.
         ——————
         balance would come out. The term “agitat[ion]” can encompass a wide
         range of conduct, as well as speech. Post, at 17. And the time and
         place of the agitation would also be important.
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            “Stare decisis is the preferred course because it pro­
         motes the evenhanded, predictable, and consistent devel­
         opment of legal principles, fosters reliance on judicial
         decisions, and contributes to the actual and perceived
         integrity of the judicial process.” Payne v. Tennessee, 501
         U. S. 808, 827 (1991). We will not overturn a past decision
         unless there are strong grounds for doing so. United
         States v. International Business Machines Corp., 517 U. S.
         843, 855–856 (1996); Citizens United, 558 U. S., at 377
         (ROBERTS, C. J., concurring). But as we have often recog­
         nized, stare decisis is “ ‘not an inexorable command.’ ”
         Pearson v. Callahan, 555 U. S. 223, 233 (2009); see also
         Lawrence v. Texas, 539 U. S. 558, 577 (2003); State Oil Co.
         v. Khan, 522 U. S. 3, 20 (1997); Agostini v. Felton, 521
         U. S. 203, 235 (1997); Seminole Tribe of Fla. v. Florida,
         517 U. S. 44, 63 (1996); Payne, supra, at 828.
            The doctrine “is at its weakest when we interpret the
         Constitution because our interpretation can be altered
         only by constitutional amendment or by overruling our
         prior decisions.” Agostini, supra, at 235. And stare decisis
         applies with perhaps least force of all to decisions that
         wrongly denied First Amendment rights: “This Court has
         not hesitated to overrule decisions offensive to the First
         Amendment (a fixed star in our constitutional constella­
         tion, if there is one).” Federal Election Comm’n v. Wiscon-
         sin Right to Life, Inc., 551 U. S. 449, 500 (2007) (Scalia, J.,
         concurring in part and concurring in judgment) (internal
         quotation marks omitted); see also Citizens United, supra,
         at 362–365 (overruling Austin, 494 U. S. 652); Barnette,
         319 U. S., at 642 (overruling Minersville School Dist. v.
         Gobitis, 310 U. S. 586 (1940)).
            Our cases identify factors that should be taken into
         account in deciding whether to overrule a past decision.
         Five of these are most important here: the quality of
         Abood’s reasoning, the workability of the rule it estab­
         lished, its consistency with other related decisions, devel­
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         opments since the decision was handed down, and reliance
         on the decision. After analyzing these factors, we conclude
         that stare decisis does not require us to retain Abood.
                                       A
           An important factor in determining whether a precedent
         should be overruled is the quality of its reasoning, see
         Citizens United, 558 U. S., at 363–364; id., at 382–385
         (ROBERTS, C. J., concurring); Lawrence, 539 U. S., at 577–
         578, and as we explained in Harris, Abood was poorly
         reasoned, see 573 U. S., at ___–___ (slip op., at 17–20). We
         will summarize, but not repeat, Harris’s lengthy discus­
         sion of the issue.
           Abood went wrong at the start when it concluded that
         two prior decisions, Railway Employes v. Hanson, 351
         U. S. 225 (1956), and Machinists v. Street, 367 U. S. 740
         (1961), “appear[ed] to require validation of the agency-
         shop agreement before [the Court].” 431 U. S., at 226.
         Properly understood, those decisions did no such thing.
         Both cases involved Congress’s “bare authorization” of
         private-sector union shops under the Railway Labor Act.
         Street, supra, at 749 (emphasis added).24 Abood failed to
         appreciate that a very different First Amendment question
         ——————
           24 No  First Amendment issue could have properly arisen in those
         cases unless Congress’s enactment of a provision allowing, but not
         requiring, private parties to enter into union-shop arrangements was
         sufficient to establish governmental action. That proposition was
         debatable when Abood was decided, and is even more questionable
         today. See American Mfrs. Mut. Ins. Co. v. Sullivan, 526 U. S. 40, 53
         (1999); Jackson v. Metropolitan Edison Co., 419 U. S. 345, 357 (1974).
         Compare, e.g., White v. Communications Workers of Am., AFL–CIO,
         Local 13000, 370 F. 3d 346, 350 (CA3 2004) (no state action), and
         Kolinske v. Lubbers, 712 F. 2d 471, 477–478 (CADC 1983) (same), with
         Beck v. Communications Workers of Am., 776 F. 2d 1187, 1207 (CA4
         1985) (state action), and Linscott v. Millers Falls Co., 440 F. 2d 14, 16,
         and n. 2 (CA1 1971) (same). We reserved decision on this question in
         Communications Workers v. Beck, 487 U. S. 735, 761 (1988), and do not
         resolve it here.
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         arises when a State requires its employees to pay agency
         fees. See Harris, supra, at ___ (slip op., at 17).
            Moreover, neither Hanson nor Street gave careful con­
         sideration to the First Amendment. In Hanson, the pri­
         mary questions were whether Congress exceeded its power
         under the Commerce Clause or violated substantive due
         process by authorizing private union-shop arrangements
         under the Commerce and Due Process Clauses. 351 U. S.,
         at 233–235. After deciding those questions, the Court
         summarily dismissed what was essentially a facial First
         Amendment challenge, noting that the record did not
         substantiate the challengers’ claim. Id., at 238; see Har-
         ris, supra, at ___ (slip op., at 17). For its part, Street was
         decided as a matter of statutory construction, and so did
         not reach any constitutional issue. 367 U. S., at 749–750,
         768–769. Abood nevertheless took the view that Hanson
         and Street “all but decided” the important free speech
         issue that was before the Court. Harris, 573 U. S., at ___
         (slip op., at 17). As we said in Harris, “[s]urely a First
         Amendment issue of this importance deserved better
         treatment.” Ibid.
            Abood’s unwarranted reliance on Hanson and Street
         appears to have contributed to another mistake: Abood
         judged the constitutionality of public-sector agency fees
         under a deferential standard that finds no support in our
         free speech cases. (As noted, supra, at 10–11, today’s
         dissent makes the same fundamental mistake.) Abood did
         not independently evaluate the strength of the govern­
         ment interests that were said to support the challenged
         agency-fee provision; nor did it ask how well that provision
         actually promoted those interests or whether they could
         have been adequately served without impinging so heavily
         on the free speech rights of nonmembers. Rather, Abood
         followed Hanson and Street, which it interpreted as having
         deferred to “the legislative assessment of the important
         contribution of the union shop to the system of labor rela­
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         tions established by Congress.” 431 U. S., at 222 (empha­
         sis added). But Hanson deferred to that judgment in
         deciding the Commerce Clause and substantive due pro­
         cess questions that were the focus of the case. Such defer­
         ence to legislative judgments is inappropriate in deciding
         free speech issues.
            If Abood had considered whether agency fees were
         actually needed to serve the asserted state interests, it
         might not have made the serious mistake of assuming that
         one of those interests—“labor peace”—demanded, not only
         that a single union be designated as the exclusive repre­
         sentative of all the employees in the relevant unit, but also
         that nonmembers be required to pay agency fees. Defer­
         ring to a perceived legislative judgment, Abood failed to
         see that the designation of a union as exclusive repre­
         sentative and the imposition of agency fees are not inex­
         tricably linked. See supra, at 11–12; Harris, supra, at ___
         (slip op., at 31).
            Abood also did not sufficiently take into account the
         difference between the effects of agency fees in public- and
         private-sector collective bargaining. The challengers in
         Abood argued that collective bargaining with a govern­
         ment employer, unlike collective bargaining in the private
         sector, involves “inherently ‘political’ ” speech. 431 U. S.,
         at 226. The Court did not dispute that characterization,
         and in fact conceded that “decisionmaking by a public
         employer is above all a political process” driven more by
         policy concerns than economic ones. Id., at 228; see id., at
         228–231. But (again invoking Hanson), the Abood Court
         asserted that public employees do not have “weightier
         First Amendment interest[s]” against compelled speech
         than do private employees. Id., at 229. That missed the
         point. Assuming for the sake of argument that the First
         Amendment applies at all to private-sector agency-shop
         arrangements, the individual interests at stake still differ.
         “In the public sector, core issues such as wages, pensions,
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         and benefits are important political issues, but that is
         generally not so in the private sector.” Harris, 573 U. S.,
         at ___ (slip op., at 17).
            Overlooking the importance of this distinction, “Abood
         failed to appreciate the conceptual difficulty of distin­
         guishing in public-sector cases between union expendi­
         tures that are made for collective-bargaining purposes and
         those that are made to achieve political ends.” Id., at ___
         (slip op., at 18). Likewise, “Abood does not seem to have
         anticipated the magnitude of the practical administrative
         problems that would result in attempting to classify
         public-sector union expenditures as either ‘chargeable’ . . . or
         nonchargeable.” Ibid. Nor did Abood “foresee the practi­
         cal problems that would face objecting nonmembers.” Id.,
         at ___ (slip op., at 19).
            In sum, as detailed in Harris, Abood was not well
         reasoned.25
                                      B
           Another relevant consideration in the stare decisis
         calculus is the workability of the precedent in question,
         Montejo v. Louisiana, 556 U. S. 778, 792 (2009), and that
         factor also weighs against Abood.
                                      1
           Abood’s line between chargeable and nonchargeable
         union expenditures has proved to be impossible to draw
         with precision. We tried to give the line some definition in
         Lehnert. There, a majority of the Court adopted a three-
         part test requiring that chargeable expenses (1) be “ ‘ger­
         ——————
           25 Contrary to the dissent’s claim, see post, at 19, and n. 4, the fact

         that “[t]he rationale of [Abood] does not withstand careful analysis” is a
         reason to overrule it, e.g., Lawrence v. Texas, 539 U. S. 558, 577 (2003).
         And that is even truer when, as here, the defenders of the precedent do
         not attempt to “defend [its actual] reasoning.” Citizens United v.
         Federal Election Comm’n, 558 U. S. 310, 363 (2010); id., at 382–385
         (ROBERTS, C. J., concurring).
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         mane’ ” to collective bargaining, (2) be “justified” by the
         government’s labor-peace and free-rider interests, and (3)
         not add “significantly” to the burden on free speech, 500
         U. S., at 519, but the Court splintered over the application
         of this test, see id., at 519–522 (plurality opinion); id., at
         533–534 (Marshall, J., concurring in part and dissenting
         in part). That division was not surprising. As the Lehnert
         dissenters aptly observed, each part of the majority’s test
         “involves a substantial judgment call,” id., at 551 (opinion
         of Scalia, J.), rendering the test “altogether malleable” and
         “no[t] principled,” id., at 563 (KENNEDY, J., concurring in
         judgment in part and dissenting in part).
            Justice Scalia presciently warned that Lehnert’s amor­
         phous standard would invite “perpetua[l] give-it-a-try
         litigation,” id., at 551, and the Court’s experience with
         union lobbying expenses illustrates the point. The Lehnert
         plurality held that money spent on lobbying for increased
         education funding was not chargeable. Id., at 519–522.
         But Justice Marshall—applying the same three-prong
         test—reached precisely the opposite conclusion. Id., at
         533–542. And Lehnert failed to settle the matter; States
         and unions have continued to “give it a try” ever since.
            In Knox, for example, we confronted a union’s claim that
         the costs of lobbying the legislature and the electorate
         about a ballot measure were chargeable expenses under
         Lehnert. See Brief for Respondent in Knox v. Service
         Employees, O. T. 2011, No. 10–1121, pp. 48–53. The Court
         rejected this claim out of hand, 567 U. S., at 320–321, but
         the dissent refused to do so, id., at 336 (opinion of BREYER,
         J.). And in the present case, nonmembers are required to
         pay for unspecified “[l]obbying” expenses and for
         “[s]ervices” that “may ultimately inure to the benefit of the
         members of the local bargaining unit.” App. to Pet. for
         Cert. 31a–32a. That formulation is broad enough to en­
         compass just about anything that the union might choose
         to do.
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            Respondents     agree    that    Abood’s   chargeable-
         nonchargeable line suffers from “a vagueness problem,”
         that it sometimes “allows what it shouldn’t allow,” and
         that “a firm[er] line c[ould] be drawn.” Tr. of Oral Arg.
         47–48. They therefore argue that we should “consider
         revisiting” this part of Abood. Tr. of Oral Arg. 66; see
         Brief for Union Respondent 46–47; Brief for State Re­
         spondents 30. This concession only underscores the real-
         ity that Abood has proved unworkable: Not even the par­
         ties defending agency fees support the line that it has
         taken this Court over 40 years to draw.
                                        2
           Objecting employees also face a daunting and expensive
         task if they wish to challenge union chargeability deter­
         minations. While Hudson requires a union to provide
         nonmembers with “sufficient information to gauge the
         propriety of the union’s fee,” 475 U. S., at 306, the Hudson
         notice in the present case and in others that have come
         before us do not begin to permit a nonmember to make
         such a determination.
           In this case, the notice lists categories of expenses and
         sets out the amount in each category that is said to be
         attributable to chargeable and nonchargeable expenses.
         Here are some examples regarding the Union respondent’s
         expenditures:
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                                                              Chargeable
              Category            Total Expense
                                                               Expense
              Salary and
                                     $14,718,708              $11,830,230
               Benefits
           Office Printing,
            Supplies, and              $148,272                $127,959
             Advertising
             Postage and
                                       $373,509                $268,107
               Freight
              Telephone                $214,820                $192,721
             Convention
                                    $268,855            $268,855
               Expense
         See App. to Pet. for Cert. 35a–36a.
            How could any nonmember determine whether these
         numbers are even close to the mark without launching a
         legal challenge and retaining the services of attorneys and
         accountants? Indeed, even with such services, it would be
         a laborious and difficult task to check these figures.26
            The Union respondent argues that challenging its
         chargeability determinations is not burdensome because
         the Union pays for the costs of arbitration, see Brief for
         Union Respondent 10–11, but objectors must still pay for
         the attorneys and experts needed to mount a serious
         challenge. And the attorney’s fees incurred in such a
         proceeding can be substantial. See, e.g., Knox v. Chiang,
         2013 WL 2434606, *15 (ED Cal., June 5, 2013) (attorney’s
         fees in Knox exceeded $1 million). The Union respondent’s
         suggestion that an objector could obtain adequate review
         without even showing up at an arbitration, see App. to
         Pet. for Cert. 40a–41a, is therefore farfetched.
         ——————
           26 For this reason, it is hardly surprising that chargeability issues

         have not arisen in many Court of Appeals cases. See post, at 22
         (KAGAN, J., dissenting).
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                                      C
            Developments since Abood, both factual and legal, have
         also “eroded” the decision’s “underpinnings” and left it an
         outlier among our First Amendment cases. United States
         v. Gaudin, 515 U. S. 506, 521 (1995).
                                      1
           Abood pinned its result on the “unsupported empirical
         assumption” that “the principle of exclusive representation
         in the public sector is dependent on a union or agency
         shop.” Harris, 573 U. S., at ___ (slip op., at 20); Abood,
         431 U. S., at 220–222. But, as already noted, experience
         has shown otherwise. See supra, at 11–12.
           It is also significant that the Court decided Abood
         against a very different legal and economic backdrop.
         Public-sector unionism was a relatively new phenomenon
         in 1977. The first State to permit collective bargaining by
         government employees was Wisconsin in 1959, R. Kearney
         & P. Mareschal, Labor Relations in the Public Sector 64
         (5th ed. 2014), and public-sector union membership re­
         mained relatively low until a “spurt” in the late 1960’s and
         early 1970’s, shortly before Abood was decided, Freeman,
         Unionism Comes to the Public Sector, 24 J. Econ. Lit. 41,
         45 (1986). Since then, public-sector union membership
         has come to surpass private-sector union membership,
         even though there are nearly four times as many total
         private-sector employees as public-sector employees. B.
         Hirsch & D. Macpherson, Union Membership and Earn­
         ings Data Book 9–10, 12, 16 (2013 ed.).
           This ascendance of public-sector unions has been
         marked by a parallel increase in public spending. In 1970,
         total state and local government expenditures amounted
         to $646 per capita in nominal terms, or about $4,000 per
         capita in 2014 dollars. See Dept. of Commerce, Statistical
         Abstract of the United States: 1972, p. 419; CPI Inflation
         Calculator, BLS, http://data.bls.gov/cgi-bin/cpicalc.pl. By
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         2014, that figure had ballooned to approximately $10,238
         per capita. ProQuest, Statistical Abstract of the United
         States: 2018, pp. 17, Table 14, 300, Table 469. Not all that
         increase can be attributed to public-sector unions, of
         course, but the mounting costs of public-employee wages,
         benefits, and pensions undoubtedly played a substantial
         role. We are told, for example, that Illinois’ pension funds
         are underfunded by $129 billion as a result of generous
         public-employee retirement packages. Brief for Jason R.
         Barclay et al. as Amici Curiae 9, 14. Unsustainable collective-
         bargaining agreements have also been blamed for multiple
         municipal bankruptcies. See Brief for State of Michigan
         et al. as Amici Curiae 10–19. These developments, and
         the political debate over public spending and debt they
         have spurred, have given collective-bargaining issues a
         political valence that Abood did not fully appreciate.
                                       2
            Abood is also an “anomaly” in our First Amendment
         jurisprudence, as we recognized in Harris and Knox.
         Harris, supra, at ___ (slip op., at 8); Knox, 567 U. S., at
         311. This is not an altogether new observation. In Abood
         itself, Justice Powell faulted the Court for failing to per­
         form the “ ‘exacting scrutiny’ ” applied in other cases in­
         volving significant impingements on First Amendment
         rights. 431 U. S., at 259; see id., at 259–260, and n. 14.
         Our later cases involving compelled speech and associa­
         tion have also employed exacting scrutiny, if not a more
         demanding standard. See, e.g., Roberts, 468 U. S., at 623;
         United Foods, 533 U. S., at 414. And we have more re­
         cently refused, even in agency-fee cases, to extend Abood
         beyond circumstances where it directly controls. See
         Knox, supra, at 314; Harris, supra, at ___–___ (slip op., at
         28–29).
            Abood particularly sticks out when viewed against our
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         cases holding that public employees generally may not be
         required to support a political party. See Elrod, 427 U. S.
         347; Branti, 445 U. S. 507; Rutan, 497 U. S. 62; O’Hare
         Truck Service, Inc. v. City of Northlake, 518 U. S. 712
         (1996). The Court reached that conclusion despite a “long
         tradition” of political patronage in government. Rutan,
         supra, at 95 (Scalia, J., dissenting); see also Elrod, 427
         U. S., at 353 (plurality opinion); id., at 377–378 (Powell,
         J., dissenting). It is an odd feature of our First Amend­
         ment cases that political patronage has been deemed
         largely unconstitutional, while forced subsidization of
         union speech (which has no such pedigree) has been largely
         permitted. As Justice Powell observed: “I am at a loss
         to understand why the State’s decision to adopt the agency
         shop in the public sector should be worthy of greater defer­
         ence, when challenged on First Amendment grounds, than
         its decision to adhere to the tradition of political patron­
         age.” Abood, supra, at 260, n. 14 (opinion concurring in
         judgment) (citing Elrod, supra, at 376–380, 382–387
         (Powell, J., dissenting); emphasis added). We have no
         occasion here to reconsider our political patronage deci­
         sions, but Justice Powell’s observation is sound as far as it
         goes. By overruling Abood, we end the oddity of privileg­
         ing compelled union support over compelled party support
         and bring a measure of greater coherence to our First
         Amendment law.
                                       D
           In some cases, reliance provides a strong reason for
         adhering to established law, see, e.g., Hilton v. South
         Carolina Public Railways Comm’n, 502 U. S. 197, 202–203
         (1991), and this is the factor that is stressed most strongly
         by respondents, their amici, and the dissent. They con­
         tend that collective-bargaining agreements now in effect
         were negotiated with agency fees in mind and that unions
         may have given up other benefits in exchange for provi­
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         sions granting them such fees. Tr. of Oral Arg. 67–68; see
         Brief for State Respondents 54; Brief for Union Respond­
         ent 50; post, at 22–26 (KAGAN, J., dissenting). In this case,
         however, reliance does not carry decisive weight.
            For one thing, it would be unconscionable to permit free
         speech rights to be abridged in perpetuity in order to
         preserve contract provisions that will expire on their own
         in a few years’ time. “The fact that [public-sector unions]
         may view [agency fees] as an entitlement does not estab­
         lish the sort of reliance interest that could outweigh the
         countervailing interest that [nonmembers] share in having
         their constitutional rights fully protected.” Arizona v.
         Gant, 556 U. S. 332, 349 (2009).
            For another, Abood does not provide “a clear or easily
         applicable standard, so arguments for reliance based on its
         clarity are misplaced.” South Dakota v. Wayfair, Inc.,
         ante, at 20; see supra, at 38–41.
            This is especially so because public-sector unions have
         been on notice for years regarding this Court’s misgivings
         about Abood. In Knox, decided in 2012, we described
         Abood as a First Amendment “anomaly.” 567 U. S., at
         311. Two years later in Harris, we were asked to overrule
         Abood, and while we found it unnecessary to take that
         step, we cataloged Abood’s many weaknesses. In 2015, we
         granted a petition for certiorari asking us to review a
         decision that sustained an agency-fee arrangement under
         Abood. Friedrichs v. California Teachers Assn., 576 U. S.
         ___. After exhaustive briefing and argument on the ques­
         tion whether Abood should be overruled, we affirmed the
         decision below by an equally divided vote. 578 U. S. ___
         (2016) (per curiam). During this period of time, any public-
         sector union seeking an agency-fee provision in a collective-
         bargaining agreement must have understood that the
         constitutionality of such a provision was uncertain.
            That is certainly true with respect to the collective-
         bargaining agreement in the present case. That agree­
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         ment initially ran from July 1, 2012, until June 30, 2015.
         App. 331. Since then, the agreement has been extended
         pursuant to a provision providing for automatic renewal
         for an additional year unless either party gives timely
         notice that it desires to amend or terminate the contract.
         Ibid. Thus, for the past three years, the Union could not
         have been confident about the continuation of the agency-
         fee arrangement for more than a year at a time.
            Because public-sector collective-bargaining agreements
         are generally of rather short duration, a great many of
         those now in effect probably began or were renewed since
         Knox (2012) or Harris (2014). But even if an agreement
         antedates those decisions, the union was able to protect
         itself if an agency-fee provision was essential to the overall
         bargain. A union’s attorneys undoubtedly understand
         that if one provision of a collective-bargaining agreement
         is found to be unlawful, the remaining provisions are
         likely to remain in effect. See NLRB v. Rockaway News
         Supply Co., 345 U. S. 71, 76–79 (1953); see also 8 R. Lord,
         Williston on Contracts §19:70 (4th ed. 2010). Any union
         believing that an agency-fee provision was essential to its
         bargain could have insisted on a provision giving it greater
         protection. The agreement in the present case, by con­
         trast, provides expressly that the invalidation of any part
         of the agreement “shall not invalidate the remaining
         portions,” which “shall remain in full force and effect.”
         App. 328. Such severability clauses ensure that “entire
         contracts” are not “br[ought] down” by today’s ruling.
         Post, at 23, n. 5 (KAGAN, J., dissenting).
            In short, the uncertain status of Abood, the lack of
         clarity it provides, the short-term nature of collective-
         bargaining agreements, and the ability of unions to protect
         themselves if an agency-fee provision was crucial to its
         bargain all work to undermine the force of reliance as a
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         factor supporting Abood.27
                                   *     *    *
            We recognize that the loss of payments from nonmem­
         bers may cause unions to experience unpleasant transition
         costs in the short term, and may require unions to make
         adjustments in order to attract and retain members. But
         we must weigh these disadvantages against the consider­
         able windfall that unions have received under Abood for
         the past 41 years. It is hard to estimate how many bil­
         lions of dollars have been taken from nonmembers and
         transferred to public-sector unions in violation of the First
         Amendment. Those unconstitutional exactions cannot be
         allowed to continue indefinitely.
            All these reasons—that Abood’s proponents have aban­
         doned its reasoning, that the precedent has proved un­
         workable, that it conflicts with other First Amendment
         decisions, and that subsequent developments have eroded
         its underpinnings—provide the “ ‘special justification[s]’ ”
         for overruling Abood. Post, at 19 (KAGAN, J., dissenting)
         (quoting Kimble v. Marvel Entertainment, LLC, 576 U. S.
         ___, ___ (2015) (slip op., at 8)).28
         ——————
             27 The dissent emphasizes another type of reliance, namely, that

         “[o]ver 20 States have by now enacted statutes authorizing [agency-fee]
         provisions.” Post, at 23. But as we explained in Citizens United, “[t]his
         is not a compelling interest for stare decisis. If it were, legislative acts
         could prevent us from overruling our own precedents, thereby interfer­
         ing with our duty ‘to say what the law is.’ ” 558 U. S., at 365 (quoting
         Marbury v. Madison, 1 Cranch 137, 177 (1803)). Nor does our decision
         “ ‘require an extensive legislative response.’ ” Post, at 23. States can
         keep their labor-relations systems exactly as they are—only they
         cannot force nonmembers to subsidize public-sector unions. In this
         way, these States can follow the model of the federal government and
         28 other States.
             28 Unfortunately, the dissent sees the need to resort to accusations

         that we are acting like “black-robed rulers” who have shut down an
         “energetic policy debate.” Post, at 27–28. We certainly agree that
         judges should not “overrid[e] citizens’ choices” or “pick the winning
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                                     VII
            For these reasons, States and public-sector unions may
         no longer extract agency fees from nonconsenting employ­
         ees. Under Illinois law, if a public-sector collective-
         bargaining agreement includes an agency-fee provision
         and the union certifies to the employer the amount of the
         fee, that amount is automatically deducted from the non­
         member’s wages. §315/6(e). No form of employee consent
         is required.
            This procedure violates the First Amendment and can­
         not continue. Neither an agency fee nor any other pay­
         ment to the union may be deducted from a nonmember’s
         wages, nor may any other attempt be made to collect such
         a payment, unless the employee affirmatively consents to
         pay. By agreeing to pay, nonmembers are waiving their
         First Amendment rights, and such a waiver cannot be
         presumed. Johnson v. Zerbst, 304 U. S. 458, 464 (1938);
         see also Knox, 567 U. S., at 312–313. Rather, to be effec­
         tive, the waiver must be freely given and shown by “clear
         and compelling” evidence. Curtis Publishing Co. v. Butts,
         388 U. S. 130, 145 (1967) (plurality opinion); see also
         College Savings Bank v. Florida Prepaid Postsecondary
         Ed. Expense Bd., 527 U. S. 666, 680–682 (1999). Unless
         employees clearly and affirmatively consent before any
         money is taken from them, this standard cannot be met.

         ——————
         side,” ibid.—unless the Constitution commands that they do so. But
         when a federal or state law violates the Constitution, the American
         doctrine of judicial review requires us to enforce the Constitution.
         Here, States with agency-fee laws have abridged fundamental free
         speech rights. In holding that these laws violate the Constitution, we
         are simply enforcing the First Amendment as properly understood,
         “[t]he very purpose of [which] was to withdraw certain subjects from
         the vicissitudes of political controversy, to place them beyond the reach
         of majorities and officials and to establish them as legal principles to be
         applied by the courts.” West Virginia Bd. of Ed. v. Barnette, 319 U. S.
         624, 638 (1943).
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                                *     *    *
           Abood was wrongly decided and is now overruled. The
         judgment of the United States Court of Appeals for the
         Seventh Circuit is reversed, and the case is remanded for
         further proceedings consistent with this opinion.

                                                          It is so ordered.
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                           SOTOMAYOR, J., dissenting

         SUPREME COURT OF THE UNITED STATES
                                  _________________

                                  No. 16–1466
                                  _________________


           MARK JANUS, PETITIONER v. AMERICAN FEDER-
            ATION OF STATE, COUNTY, AND MUNICIPAL
                 EMPLOYEES, COUNCIL 31, ET AL.
          ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                    APPEALS FOR THE SEVENTH CIRCUIT
                                 [June 27, 2018]

           JUSTICE SOTOMAYOR, dissenting.
           I join JUSTICE KAGAN’s dissent in full. Although I joined
         the majority in Sorrell v. IMS Health Inc., 564 U. S. 552
         (2011), I disagree with the way that this Court has since
         interpreted and applied that opinion. See, e.g., National
         Institute of Family and Life Advocates v. Becerra, ante,
         p. ___. Having seen the troubling development in First
         Amendment jurisprudence over the years, both in this
         Court and in lower courts, I agree fully with JUSTICE
         KAGAN that Sorrell—in the way it has been read by this
         Court—has allowed courts to “wiel[d] the First Amend-
         ment in . . . an aggressive way” just as the majority does
         today. Post, at 27.
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                              KAGAN, J., dissenting

         SUPREME COURT OF THE UNITED STATES
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                    APPEALS FOR THE SEVENTH CIRCUIT
                                 [June 27, 2018]

           JUSTICE KAGAN, with whom JUSTICE GINSBURG,
         JUSTICE BREYER, and JUSTICE SOTOMAYOR join,
         dissenting.
           For over 40 years, Abood v. Detroit Bd. of Ed., 431 U. S.
         209 (1977), struck a stable balance between public em-
         ployees’ First Amendment rights and government entities’
         interests in running their workforces as they thought
         proper. Under that decision, a government entity could
         require public employees to pay a fair share of the cost
         that a union incurs when negotiating on their behalf over
         terms of employment. But no part of that fair-share pay-
         ment could go to any of the union’s political or ideological
         activities.
           That holding fit comfortably with this Court’s general
         framework for evaluating claims that a condition of public
         employment violates the First Amendment. The Court’s
         decisions have long made plain that government entities
         have substantial latitude to regulate their employees’
         speech—especially about terms of employment—in the
         interest of operating their workplaces effectively. Abood
         allowed governments to do just that. While protecting
         public employees’ expression about non-workplace mat-
         ters, the decision enabled a government to advance im-
         portant managerial interests—by ensuring the presence of
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                              KAGAN, J., dissenting

         an exclusive employee representative to bargain with. Far
         from an “anomaly,” ante, at 7, the Abood regime was a
         paradigmatic example of how the government can regulate
         speech in its capacity as an employer.
            Not any longer. Today, the Court succeeds in its 6-year
         campaign to reverse Abood. See Friedrichs v. California
         Teachers Assn., 578 U. S. ___ (2016) (per curiam); Harris
         v. Quinn, 573 U. S. ___ (2014); Knox v. Service Employees,
         567 U. S. 298 (2012). Its decision will have large-scale
         consequences. Public employee unions will lose a secure
         source of financial support. State and local governments
         that thought fair-share provisions furthered their inter-
         ests will need to find new ways of managing their work-
         forces. Across the country, the relationships of public
         employees and employers will alter in both predictable
         and wholly unexpected ways.
            Rarely if ever has the Court overruled a decision—let
         alone one of this import—with so little regard for the
         usual principles of stare decisis. There are no special
         justifications for reversing Abood. It has proved workable.
         No recent developments have eroded its underpinnings.
         And it is deeply entrenched, in both the law and the real
         world. More than 20 States have statutory schemes built
         on the decision. Those laws underpin thousands of ongo-
         ing contracts involving millions of employees. Reliance
         interests do not come any stronger than those surrounding
         Abood. And likewise, judicial disruption does not get any
         greater than what the Court does today. I respectfully
         dissent.
                                       I
            I begin with Abood, the 41-year-old precedent the major-
         ity overrules. That case involved a union that had been
         certified as the exclusive representative of Detroit’s public
         school teachers. The union’s collective-bargaining agree-
         ment with the city included an “agency shop” clause,
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         which required teachers who had not joined the union to
         pay it “a service charge equal to the regular dues required
         of [u]nion members.” Abood, 431 U. S., at 212. A group of
         non-union members sued over that clause, arguing that it
         violated the First Amendment.
            In considering their challenge, the Court canvassed the
         purposes of the “agency shop” clause. It was rooted, the
         Court understood, in the “principle of exclusive union
         representation”—a “central element” in “industrial rela-
         tions” since the New Deal. Id., at 220. Significant bene-
         fits, the Court explained, could derive from the “designa-
         tion of a single [union] representative” for all similarly
         situated employees in a workplace. Ibid. In particular,
         such arrangements: “avoid[ ] the confusion that would
         result from attempting to enforce two or more agreements
         specifying different terms and conditions of employment”;
         “prevent[ ] inter-union rivalries from creating dissension
         within the work force”; “free[ ] the employer from the
         possibility of facing conflicting demands from different
         unions”; and “permit[ ] the employer and a single union to
         reach agreements and settlements that are not subject to
         attack from rival labor organizations.” Id., at 220–221.
         As proof, the Court pointed to the example of exclusive-
         representation arrangements in the private-employment
         sphere: There, Congress had long thought that such
         schemes would promote “peaceful labor relations” and
         “labor stability.” Id., at 219, 229. A public employer like
         Detroit, the Court believed, could reasonably make the
         same calculation.
            But for an exclusive-bargaining arrangement to work,
         such an employer often thought, the union needed ade-
         quate funding. Because the “designation of a union as
         exclusive representative carries with it great responsibili-
         ties,” the Court reasoned, it inevitably also entails sub-
         stantial costs. Id., at 221. “The tasks of negotiating and
         administering a collective-bargaining agreement and
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         representing the interests of employees in settling dis-
         putes and processing grievances are continuing and diffi-
         cult ones.” Ibid. Those activities, the Court noted, require
         the “expenditure of much time and money”—for example,
         payment for the “services of lawyers, expert negotiators,
         economists, and a research staff.” Ibid. And there is no
         way to confine the union’s services to union members
         alone (and thus to trim costs) because unions must by law
         fairly represent all employees in a given bargaining unit—
         union members and non-members alike. See ibid.
           With all that in mind, the Court recognized why both a
         government entity and its union bargaining partner would
         gravitate toward an agency-fee clause. Those fees, the
         Court reasoned, “distribute fairly the cost” of collective
         bargaining “among those who benefit”—that is, all em-
         ployees in the work unit. Id., at 222. And they “counter-
         act[ ] the incentive that employees might otherwise have
         to become ‘free riders.’ ” Ibid. In other words, an agency-
         fee provision prevents employees from reaping all the
         “benefits of union representation”—higher pay, a better
         retirement plan, and so forth—while leaving it to others to
         bear the costs. Ibid. To the Court, the upshot was clear: A
         government entity could reasonably conclude that such a
         clause was needed to maintain the kind of exclusive bar-
         gaining arrangement that would facilitate peaceful and
         stable labor relations.
           But the Court acknowledged as well the “First Amend-
         ment interests” of dissenting employees. Ibid. It recog-
         nized that some workers might oppose positions the union
         takes in collective bargaining, or even “unionism itself.”
         Ibid. And still more, it understood that unions often
         advance “political and ideological” views outside the
         collective-bargaining context—as when they “contribute to
         political candidates.” Id., at 232, 234. Employees might
         well object to the use of their money to support such “ideo-
         logical causes.” Id., at 235.
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           So the Court struck a balance, which has governed this
         area ever since. On the one hand, employees could be
         required to pay fees to support the union in “collective
         bargaining, contract administration, and grievance ad-
         justment.” Id., at 225–226. There, the Court held, the
         “important government interests” in having a stably
         funded bargaining partner justify “the impingement upon”
         public employees’ expression. Id., at 225. But on the
         other hand, employees could not be compelled to fund the
         union’s political and ideological activities. Outside the
         collective-bargaining sphere, the Court determined, an
         employee’s First Amendment rights defeated any conflict-
         ing government interest. See id., at 234–235.
                                      II
           Unlike the majority, I see nothing “questionable” about
         Abood’s analysis. Ante, at 7 (quoting Harris, 573 U. S., at
         ___ (slip op., at 17)). The decision’s account of why some
         government entities have a strong interest in agency fees
         (now often called fair-share fees) is fundamentally sound.
         And the balance Abood struck between public employers’
         interests and public employees’ expression is right at
         home in First Amendment doctrine.
                                      A
           Abood’s reasoning about governmental interests has
         three connected parts. First, exclusive representation
         arrangements benefit some government entities because
         they can facilitate stable labor relations. In particular,
         such arrangements eliminate the potential for inter-union
         conflict and streamline the process of negotiating terms of
         employment. See 431 U. S., at 220–221. Second, the
         government may be unable to avail itself of those benefits
         unless the single union has a secure source of funding.
         The various tasks involved in representing employees cost
         money; if the union doesn’t have enough, it can’t be an
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         effective employee representative and bargaining partner.
         See id., at 221. And third, agency fees are often needed to
         ensure such stable funding. That is because without those
         fees, employees have every incentive to free ride on the
         union dues paid by others. See id., at 222.
            The majority does not take issue with the first point.
         See ante, at 33 (It is “not disputed that the State may
         require that a union serve as exclusive bargaining agent
         for its employees” in order to advance the State’s “inter-
         ests as an employer”). The majority claims that the sec-
         ond point never appears in Abood, but is willing to assume
         it for the sake of argument. See ante, at 31–32; but see
         Abood, 431 U. S., at 221 (The tasks of an exclusive repre-
         sentative “often entail expenditure of much time and
         money”). So the majority stakes everything on the third
         point—the conclusion that maintaining an effective sys-
         tem of exclusive representation often entails agency fees.
         Ante, at 12 (It “is simply not true” that exclusive represen-
         tation and agency fees are “inextricably linked”); see ante,
         at 14.
            But basic economic theory shows why a government
         would think that agency fees are necessary for exclusive
         representation to work. What ties the two together, as
         Abood recognized, is the likelihood of free-riding when fees
         are absent.      Remember that once a union achieves
         exclusive-representation status, the law compels it to
         fairly represent all workers in the bargaining unit, whether
         or not they join or contribute to the union. See supra, at 4.
         Because of that legal duty, the union cannot give special
         advantages to its own members. And that in turn creates
         a collective action problem of nightmarish proportions.
         Everyone—not just those who oppose the union, but also
         those who back it—has an economic incentive to withhold
         dues; only altruism or loyalty—as against financial self-
         interest—can explain why an employee would pay the
         union for its services. And so emerged Abood’s rule allow-
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         ing fair-share agreements: That rule ensured that a union
         would receive sufficient funds, despite its legally imposed
         disability, to effectively carry out its duties as exclusive
         representative of the government’s employees.
           The majority’s initial response to this reasoning is
         simply to dismiss it. “[F]ree rider arguments,” the majority
         pronounces, “are generally insufficient to overcome First
         Amendment objections.” Ante, at 13 (quoting Knox, 567
         U. S., at 311). “To hold otherwise,” it continues, “would
         have startling consequences” because “[m]any private
         groups speak out” in ways that will “benefit[ ] nonmem-
         bers.” Ante, at 13. But that disregards the defining char-
         acteristic of this free-rider argument—that unions, unlike
         those many other private groups, must serve members and
         non-members alike. Groups advocating for “senior citizens
         or veterans” (to use the majority’s examples) have no legal
         duty to provide benefits to all those individuals: They can
         spur people to pay dues by conferring all kinds of special
         advantages on their dues-paying members. Unions are—
         by law—in a different position, as this Court has long
         recognized. See, e.g., Machinists v. Street, 367 U. S. 740,
         762 (1961). Justice Scalia, responding to the same argu-
         ment as the majority’s, may have put the point best. In a
         way that is true of no other private group, the “law re-
         quires the union to carry” non-members—“indeed, requires
         the union to go out of its way to benefit [them], even at the
         expense of its other interests.” Lehnert v. Ferris Faculty
         Assn., 500 U. S. 507, 556 (1991) (opinion concurring in
         part and dissenting in part). That special feature was
         what justified Abood: “Where the state imposes upon the
         union a duty to deliver services, it may permit the union to
         demand reimbursement for them.” 500 U. S., at 556.
           The majority’s fallback argument purports to respond to
         the distinctive position of unions, but still misses Abood’s
         economic insight. Here, the majority delivers a four-page
         exegesis on why unions will seek to serve as an exclusive
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         bargaining representative even “if they are not given
         agency fees.” Ante, at 14; see ante, at 14–17. The gist of
         the account is that “designation as the exclusive repre-
         sentative confers many benefits,” which outweigh the costs
         of providing services to non-members. Ante, at 15. But
         that response avoids the key question, which is whether
         unions without agency fees will be able to (not whether
         they will want to) carry on as an effective exclusive repre-
         sentative. And as to that question, the majority again
         fails to reckon with how economically rational actors
         behave—in public as well as private workplaces. Without
         a fair-share agreement, the class of union non-members
         spirals upward. Employees (including those who love the
         union) realize that they can get the same benefits even if
         they let their memberships expire. And as more and more
         stop paying dues, those left must take up the financial
         slack (and anyway, begin to feel like suckers)—so they too
         quit the union. See Ichniowski & Zax, Right-to-Work
         Laws, Free Riders, and Unionization in the Local Public
         Sector, 9 J. Labor Economics 255, 257 (1991).1 And when
         the vicious cycle finally ends, chances are that the union
         will lack the resources to effectively perform the responsi-
         ——————
           1 The majority relies on statistics from the federal workforce (where

         agency fees are unlawful) to suggest that public employees do not act in
         accord with economic logic. See ante, at 12. But first, many fewer
         federal employees pay dues than have voted for a union to represent
         them, indicating that free-riding in fact pervades the federal sector.
         See, e.g., R. Kearney & P. Mareschal, Labor Relations in the Public
         Sector 26 (5th ed. 2014). And second, that sector is not typical of other
         public workforces. Bargaining in the federal sphere is limited; most
         notably, it does not extend to wages and benefits. See Fort Stewart
         Schools v. FLRA, 495 U. S. 641, 649 (1990). That means union operat-
         ing expenses are lower than they are elsewhere. And the gap further
         widens because the federal sector uses large, often national, bargaining
         units that provide unions with economies of scale. See Brief for Inter-
         national Brotherhood of Teamsters as Amicus Curiae 7. For those
         reasons, the federal workforce is the wrong place to look for meaningful
         empirical evidence on the issues here.
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         bilities of an exclusive representative—or, in the worst
         case, to perform them at all. The result is to frustrate the
         interests of every government entity that thinks a strong
         exclusive-representation scheme will promote stable labor
         relations.
           Of course, not all public employers will share that view.
         Some would rather not bargain with an exclusive repre-
         sentative. Others would prefer that representative to be
         poorly funded—to serve more as a front than an effectual
         bargaining partner. But as reflected in the number of fair-
         share statutes and contracts across the Nation, see supra,
         at 2, many government entities think that effective exclu-
         sive representation makes for good labor relations—and
         recognize, just as Abood did, that representation of that
         kind often depends on agency fees. See, e.g., Harris, 573
         U. S., at ___ (slip op., at 24) (KAGAN, J., dissenting) (de-
         scribing why Illinois thought that bargaining with an
         adequately funded exclusive representative of in-home
         caregivers would enable the State to better serve its dis-
         abled citizens). Abood respected that state interest; today’s
         majority fails even to understand it. Little wonder that
         the majority’s First Amendment analysis, which involves
         assessing the government’s reasons for imposing agency
         fees, also comes up short.
                                     B
                                      1
            In many cases over many decades, this Court has ad-
         dressed how the First Amendment applies when the gov-
         ernment, acting not as sovereign but as employer, limits
         its workers’ speech. Those decisions have granted sub-
         stantial latitude to the government, in recognition of its
         significant interests in managing its workforce so as to
         best serve the public. Abood fit neatly with that caselaw,
         in both reasoning and result. Indeed, its reversal today
         creates a significant anomaly—an exception, applying to
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         union fees alone, from the usual rules governing public
         employees’ speech.
            “Time and again our cases have recognized that the
         Government has a much freer hand” in dealing with its
         employees than with “citizens at large.” NASA v. Nelson,
         562 U. S. 134, 148 (2011) (internal quotation marks omit-
         ted). The government, we have stated, needs to run “as
         effectively and efficiently as possible.” Engquist v. Oregon
         Dept. of Agriculture, 553 U. S. 591, 598 (2008) (internal
         quotation marks omitted). That means it must be able,
         much as a private employer is, to manage its workforce as
         it thinks fit. A public employee thus must submit to “cer-
         tain limitations on his or her freedom.” Garcetti v. Ce-
         ballos, 547 U. S. 410, 418 (2006). Government workers, of
         course, do not wholly “lose their constitutional rights when
         they accept their positions.” Engquist, 553 U. S., at 600.
         But under our precedent, their rights often yield when
         weighed “against the realities of the employment context.”
         Ibid. If it were otherwise—if every employment decision
         were to “bec[o]me a constitutional matter”—“the Govern-
         ment could not function.” NASA, 562 U. S., at 149 (inter-
         nal quotation marks omitted).
            Those principles apply with full force when public
         employees’ expressive rights are at issue. As we have ex-
         plained: “Government employers, like private employers,
         need a significant degree of control over their employees’
         words” in order to “efficient[ly] provi[de] public services.”
         Garcetti, 547 U. S., at 418. Again, significant control does
         not mean absolute authority. In particular, the Court has
         guarded against government efforts to “leverage the em-
         ployment relationship” to shut down its employees’ speech
         as private citizens. Id., at 419. But when the government
         imposes speech restrictions relating to workplace opera-
         tions, of the kind a private employer also would, the Court
         reliably upholds them. See, e.g., id., at 426; Connick v.
         Myers, 461 U. S. 138, 154 (1983).
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           In striking the proper balance between employee speech
         rights and managerial interests, the Court has long ap-
         plied a test originating in Pickering v. Board of Ed. of
         Township High School Dist. 205, Will Cty., 391 U. S. 563
         (1968). That case arose out of an individual employment
         action: the firing of a public school teacher. As we later
         described the Pickering inquiry, the Court first asks
         whether the employee “spoke as a citizen on a matter of
         public concern.” Garcetti, 547 U. S., at 418. If she did
         not—but rather spoke as an employee on a workplace
         matter—she has no “possibility of a First Amendment
         claim”: A public employer can curtail her speech just as a
         private one could. Ibid. But if she did speak as a citizen
         on a public matter, the public employer must demonstrate
         “an adequate justification for treating the employee differ-
         ently from any other member of the general public.” Ibid.
         The government, that is, needs to show that legitimate
         workplace interests lay behind the speech regulation.
           Abood coheres with that framework. The point here is
         not, as the majority suggests, that Abood is an overt, one-
         to-one “application of Pickering.” Ante, at 26. It is not.
         Abood related to a municipality’s labor policy, and so the
         Court looked to prior cases about unions, not to Pickering’s
         analysis of an employee’s dismissal. (And truth be told,
         Pickering was not at that time much to look at: What the
         Court now thinks of as the two-step Pickering test, as the
         majority’s own citations show, really emerged from Garcetti
         and Connick—two cases post-dating Abood. See ante, at
         22.)2 But Abood and Pickering raised variants of the same
         basic issue: the extent of the government’s authority to
         ——————
           2 For those reasons, it is not surprising that the “categorization

         schemes” in Abood and Pickering are not precisely coterminous. Ante,
         at 25. The two cases are fraternal rather than identical twins—both
         standing for the proposition that the government receives great defer-
         ence when it regulates speech as an employer rather than as a sover-
         eign. See infra this page and 12–13.
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         make employment decisions affecting expression. And in
         both, the Court struck the same basic balance, enabling
         the government to curb speech when—but only when—the
         regulation was designed to protect its managerial inter-
         ests. Consider the parallels:
            Like Pickering, Abood drew the constitutional line by
         analyzing the connection between the government’s man-
         agerial interests and different kinds of expression. The
         Court first discussed the use of agency fees to subsidize
         the speech involved in “collective bargaining, contract
         administration, and grievance adjustment.” 431 U. S., at
         225–226. It understood that expression (really, who would
         not?) as intimately tied to the workplace and employment
         relationship. The speech was about “working conditions,
         pay, discipline, promotions, leave, vacations, and termina-
         tions,” Borough of Duryea v. Guarnieri, 564 U. S. 379, 391
         (2011); the speech occurred (almost always) in the work-
         place; and the speech was directed (at least mainly) to the
         employer. As noted earlier, Abood described the manage-
         rial interests of employers in channeling all that speech
         through a single union. See 431 U. S., at 220–222, 224–
         226; supra, at 3. And so Abood allowed the government to
         mandate fees for collective bargaining—just as Pickering
         permits the government to regulate employees’ speech on
         similar workplace matters. But still, Abood realized that
         compulsion could go too far. The Court barred the use of
         fees for union speech supporting political candidates or
         “ideological causes.” 431 U. S., at 235. That speech, it
         understood, was “unrelated to [the union’s] duties as
         exclusive bargaining representative,” but instead was
         directed at the broader public sphere. Id., at 234. And for
         that reason, the Court saw no legitimate managerial
         interests in compelling its subsidization. The employees’
         First Amendment claims would thus prevail—as, again,
         they would have under Pickering.
            Abood thus dovetailed with the Court’s usual attitude in
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         First Amendment cases toward the regulation of public
         employees’ speech. That attitude is one of respect—even
         solicitude—for the government’s prerogatives as an em-
         ployer. So long as the government is acting as an employ-
         er—rather than exploiting the employment relationship
         for other ends—it has a wide berth, comparable to that of
         a private employer. And when the regulated expression
         concerns the terms and conditions of employment—the
         very stuff of the employment relationship—the govern-
         ment really cannot lose. There, managerial interests are
         obvious and strong. And so government employees are . . .
         just employees, even though they work for the govern-
         ment. Except that today the government does lose, in a
         first for the law. Now, the government can constitutionally
         adopt all policies regulating core workplace speech in
         pursuit of managerial goals—save this single one.
                                       2
           The majority claims it is not making a special and un-
         justified exception. It offers two main reasons for declin-
         ing to apply here our usual deferential approach, as exem-
         plified in Pickering, to the regulation of public employee
         speech. First, the majority says, this case involves a
         “blanket” policy rather than an individualized employment
         decision, so Pickering is a “painful fit.” Ante, at 23. Sec-
         ond, the majority asserts, the regulation here involves
         compelling rather than restricting speech, so the pain gets
         sharper still. See ante, at 24–25. And finally, the majority
         claims that even under the solicitous Pickering standard,
         the government should lose, because the speech here
         involves a matter of public concern and the government’s
         managerial interests do not justify its regulation. See
         ante, at 27–31. The majority goes wrong at every turn.
           First, this Court has applied the same basic approach
         whether a public employee challenges a general policy or
         an individualized decision. Even the majority must con-
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         cede that “we have sometimes looked to Pickering in con-
         sidering general rules that affect broad categories of em-
         ployees.” Ante, at 23. In fact, the majority cannot come up
         with any case in which we have not done so. All it can
         muster is one case in which while applying the Pickering
         test to a broad rule—barring any federal employee from
         accepting any payment for any speech or article on any
         topic—the Court noted that the policy’s breadth would
         count against the government at the test’s second step.
         See United States v. Treasury Employees, 513 U. S. 454
         (1995). Which is completely predictable. The inquiry at
         that stage, after all, is whether the government has an
         employment-related interest in going however far it has
         gone—and in Treasury Employees, the government had
         indeed gone far. (The Court ultimately struck down the
         rule because it applied to speech in which the government
         had no identifiable managerial interest. See id., at 470,
         477.) Nothing in Treasury Employees suggests that the
         Court defers only to ad hoc actions, and not to general
         rules, about public employee speech. That would be a
         perverse regime, given the greater regularity of rulemak-
         ing and the lesser danger of its abuse. So I would wager a
         small fortune that the next time a general rule governing
         public employee speech comes before us, we will dust off
         Pickering.
           Second, the majority’s distinction between compelling
         and restricting speech also lacks force. The majority
         posits that compelling speech always works a greater
         injury, and so always requires a greater justification. See
         ante, at 8. But the only case the majority cites for that
         reading of our precedent is possibly (thankfully) the most
         exceptional in our First Amendment annals: It involved
         the state forcing children to swear an oath contrary to
         their religious beliefs. See ibid. (quoting West Virginia
         Bd. of Ed. v. Barnette, 319 U. S. 624 (1943)). Regulations
         challenged as compelling expression do not usually look
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         anything like that—and for that reason, the standard
         First Amendment rule is that the “difference between
         compelled speech and compelled silence” is “without con-
         stitutional significance.” Riley v. National Federation of
         Blind of N. C., Inc., 487 U. S. 781, 796 (1988); see Wooley
         v. Maynard, 430 U. S. 705, 714 (1977) (referring to “[t]he
         right to speak and the right to refrain from speaking” as
         “complementary components” of the First Amendment).
         And if anything, the First Amendment scales tip the oppo-
         site way when (as here) the government is not compelling
         actual speech, but instead compelling a subsidy that oth-
         ers will use for expression. See Brief for Eugene Volokh
         et al. as Amici Curiae 4–5 (offering many examples to
         show that the First Amendment “simply do[es] not guar-
         antee that one’s hard-earned dollars will never be spent on
         speech one disapproves of ”).3 So when a government
         mandates a speech subsidy from a public employee—here,
         we might think of it as levying a tax to support collective
         bargaining—it should get at least as much deference as
         when it restricts the employee’s speech. As this case
         shows, the former may advance a managerial interest as
         well as the latter—in which case the government’s “freer
         hand” in dealing with its employees should apply with
         equal (if not greater) force. NASA, 562 U. S., at 148.
            Third and finally, the majority errs in thinking that
         under the usual deferential approach, the government
         should lose this case. The majority mainly argues here

         ——————
           3 That’s why this Court has blessed the constitutionality of compelled

         speech subsidies in a variety of cases beyond Abood, involving a variety
         of contexts beyond labor relations. The list includes mandatory fees
         imposed on state bar members (for professional expression); university
         students (for campus events); and fruit processors (for generic advertis-
         ing). See Keller v. State Bar of Cal., 496 U. S. 1, 14 (1990); Board of
         Regents of Univ. of Wis. System v. Southworth, 529 U. S. 217, 233
         (2000); Glickman v. Wileman Brothers & Elliott, Inc., 521 U. S. 457, 474
         (1997); see also infra, at 20.
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         that, at Pickering’s first step, “union speech in collective
         bargaining” is a “matter of great public concern” because it
         “affect[s] how public money is spent” and addresses “other
         important matters” like teacher merit pay or tenure. Ante,
         at 27, 29 (internal quotation marks omitted). But to start,
         the majority misunderstands the threshold inquiry set out
         in Pickering and later cases. The question is not, as the
         majority seems to think, whether the public is, or should
         be, interested in a government employee’s speech. In-
         stead, the question is whether that speech is about and
         directed to the workplace—as contrasted with the broader
         public square. Treasury Employees offers the Court’s
         fullest explanation. The Court held there that the gov-
         ernment’s policy prevented employees from speaking as
         “citizen[s]” on “matters of public concern.” 513 U. S., at
         466 (quoting Pickering, 391 U. S., at 568). Why? Because
         the speeches and articles “were addressed to a public
         audience, were made outside the workplace, and involved
         content largely unrelated to their Government employ-
         ment.” 513 U. S., at 466; see id., at 465, 470 (repeating
         that analysis twice more). The Court could not have cared
         less whether the speech at issue was “important.” Ante, at
         29. It instead asked whether the speech was truly of the
         workplace—addressed to it, made in it, and (most of all)
         about it.
            Consistent with that focus, speech about the terms and
         conditions of employment—the essential stuff of collective
         bargaining—has never survived Pickering’s first step.
         This Court has rejected all attempts by employees to make
         a “federal constitutional issue” out of basic “employment
         matters, including working conditions, pay, discipline,
         promotions, leave, vacations, and terminations.” Guarnieri,
         564 U. S., at 391; see Board of Comm’rs, Wabaunsee
         Cty. v. Umbehr, 518 U. S. 668, 675 (1996) (stating that
         public employees’ “speech on merely private employment
         matters is unprotected”). For that reason, even the Jus-
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         tices who originally objected to Abood conceded that the
         use of agency fees for bargaining on “economic issues” like
         “salaries and pension benefits” would not raise significant
         First Amendment questions. 431 U. S., at 263, n. 16
         (Powell, J., concurring in judgment). Of course, most of
         those issues have budgetary consequences: They “affect[ ]
         how public money is spent.” Ante, at 29. And some raise
         important non-budgetary disputes; teacher merit pay is a
         good example, see ante, at 30. But arguing about the
         terms of employment is still arguing about the terms of
         employment: The workplace remains both the context and
         the subject matter of the expression. If all that speech
         really counted as “of public concern,” as the majority
         suggests, the mass of public employees’ complaints (about
         pay and benefits and workplace policy and such) would
         become “federal constitutional issue[s].” Guarnieri, 564
         U. S., at 391. And contrary to decades’ worth of precedent,
         government employers would then have far less control
         over their workforces than private employers do. See
         supra, at 9–11.
            Consider an analogy, not involving union fees: Suppose
         a government entity disciplines a group of (non-unionized)
         employees for agitating for a better health plan at various
         inopportune times and places. The better health plan will
         of course drive up public spending; so according to the
         majority’s analysis, the employees’ speech satisfies Picker-
         ing’s “public concern” test. Or similarly, suppose a public
         employer penalizes a group of (non-unionized) teachers
         who protest merit pay in the school cafeteria. Once again,
         the majority’s logic runs, the speech is of “public concern,”
         so the employees have a plausible First Amendment claim.
         (And indeed, the majority appears to concede as much, by
         asserting that the results in these hypotheticals should
         turn on various “factual detail[s]” relevant to the interest
         balancing that occurs at the Pickering test’s second step.
         Ante, at 32, n. 23.) But in fact, this Court has always
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         understood such cases to end at Pickering’s first step: If an
         employee’s speech is about, in, and directed to the work-
         place, she has no “possibility of a First Amendment claim.”
         Garcetti, 547 U. S., at 418; see supra, at 11. So take your
         pick. Either the majority is exposing government entities
         across the country to increased First Amendment litiga-
         tion and liability—and thus preventing them from regulat-
         ing their workforces as private employers could. Or else,
         when actual cases of this kind come around, we will dis-
         cover that today’s majority has crafted a “unions only”
         carve-out to our employee-speech law.
            What’s more, the government should prevail even if the
         speech involved in collective bargaining satisfies Picker-
         ing’s first part. Recall that the next question is whether
         the government has shown “an adequate justification for
         treating the employee differently from any other member
         of the general public.” Garcetti, 547 U. S., at 418; supra,
         at 11. That inquiry is itself famously respectful of gov-
         ernment interests. This Court has reversed the govern-
         ment only when it has tried to “leverage the employment
         relationship” to achieve an outcome unrelated to the
         workplace’s “effective functioning.” Garcetti, 547 U. S., at
         419; Rankin v. McPherson, 483 U. S. 378, 388 (1987).
         Nothing like that is true here. As Abood described, many
         government entities have found agency fees the best way
         to ensure a stable and productive relationship with an
         exclusive bargaining agent. See 431 U. S., at 220–221,
         224–226; supra, at 3–4. And here, Illinois and many
         governmental amici have explained again how agency fees
         advance their workplace goals. See Brief for State Re-
         spondents 12, 36; Brief for Governor Tom Wolf et al. as
         Amici Curiae 21–33. In no other employee-speech case
         has this Court dismissed such work-related interests, as
         the majority does here. See supra, at 6–9 (discussing the
         majority’s refusal to engage with the logic of the State’s
         position). Time and again, the Court has instead respected
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         and acceded to those interests—just as Abood did.
           The key point about Abood is that it fit naturally with
         this Court’s consistent teaching about the permissibility of
         regulating public employees’ speech. The Court allows a
         government entity to regulate that expression in aid of
         managing its workforce to effectively provide public ser-
         vices. That is just what a government aims to do when it
         enforces a fair-share agreement. And so, the key point
         about today’s decision is that it creates an unjustified hole
         in the law, applicable to union fees alone. This case is sui
         generis among those addressing public employee speech—
         and will almost surely remain so.
                                       III
            But the worse part of today’s opinion is where the ma-
         jority subverts all known principles of stare decisis. The
         majority makes plain, in the first 33 pages of its decision,
         that it believes Abood was wrong.4 But even if that were
         true (which it is not), it is not enough. “Respecting stare
         decisis means sticking to some wrong decisions.” Kimble
         v. Marvel Entertainment, LLC, 576 U. S. ___, ___ (2015)
         (slip op., at 7). Any departure from settled precedent (so
         the Court has often stated) demands a “special justifica-
         tion—over and above the belief that the precedent was
         wrongly decided.” Id., at ___ (slip op., at 8) (internal quo-
         tation marks omitted); see, e.g., Arizona v. Rumsey, 467
         U. S. 203, 212 (1984). And the majority does not have
         anything close. To the contrary: all that is “special” in this
         case—especially the massive reliance interests at stake—
         demands retaining Abood, beyond even the normal
         precedent.
            Consider first why these principles about precedent are
         so important. Stare decisis—“the idea that today’s Court
         ——————
           4 And then, after ostensibly turning to stare decisis, the majority

         spends another four pages insisting that Abood was “not well rea-
         soned,” which is just more of the same. Ante, at 38; see ante, at 35–38.
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         should stand by yesterday’s decisions”—is “a foundation
         stone of the rule of law.” Kimble, 576 U. S., at ___ (slip
         op., at 7) (quoting Michigan v. Bay Mills Indian Commu-
         nity, 572 U. S. ___, ___ (2014) (slip op., at 15)). It “pro-
         motes the evenhanded, predictable, and consistent devel-
         opment” of legal doctrine. Payne v. Tennessee, 501 U. S.
         808, 827 (1991). It fosters respect for and reliance on
         judicial decisions. See ibid. And it “contributes to the
         actual and perceived integrity of the judicial process,”
         ibid., by ensuring that decisions are “founded in the law
         rather than in the proclivities of individuals,” Vasquez v.
         Hillery, 474 U. S. 254, 265 (1986).
            And Abood is not just any precedent: It is embedded in
         the law (not to mention, as I’ll later address, in the world)
         in a way not many decisions are. Over four decades, this
         Court has cited Abood favorably many times, and has
         affirmed and applied its central distinction between the
         costs of collective bargaining (which the government can
         charge to all employees) and those of political activities
         (which it cannot). See, e.g., Locke v. Karass, 555 U. S. 207,
         213–214 (2009); Lehnert, 500 U. S., at 519; Teachers v.
         Hudson, 475 U. S. 292, 301–302 (1986); Ellis v. Railway
         Clerks, 466 U. S. 435, 455–457 (1984). Reviewing those
         decisions not a decade ago, this Court—unanimously—
         called the Abood rule “a general First Amendment princi-
         ple.” Locke, 555 U. S., at 213. And indeed, the Court has
         relied on that rule when deciding cases involving com-
         pelled speech subsidies outside the labor sphere—cases
         today’s decision does not question. See, e.g., Keller v. State
         Bar of Cal., 496 U. S. 1, 9–17 (1990) (state bar fees); Board
         of Regents of Univ. of Wis. System v. Southworth, 529 U. S.
         217, 230–232 (2000) (public university student fees);
         Glickman v. Wileman Brothers & Elliott, Inc., 521 U. S.
         457, 471–473 (1997) (commercial advertising assess-
         ments); see also n. 3, supra.
            Ignoring our repeated validation of Abood, the majority
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         claims it has become “an outlier among our First Amend-
         ment cases.” Ante, at 42. That claim fails most spectacu-
         larly for reasons already discussed: Abood coheres with
         the Pickering approach to reviewing regulation of public
         employees’ speech. See supra, at 11–13. Needing to
         stretch further, the majority suggests that Abood conflicts
         with “our political patronage decisions.” Ante, at 44. But
         in fact those decisions strike a balance much like Abood’s.
         On the one hand, the Court has enabled governments to
         compel policymakers to support a political party, because
         that requirement (like fees for collective bargaining) can
         reasonably be thought to advance the interest in work-
         place effectiveness. See Elrod v. Burns, 427 U. S. 347,
         366–367 (1976); Branti v. Finkel, 445 U. S. 507, 517
         (1980). On the other hand, the Court has barred govern-
         ments from extending that rule to non-policymaking em-
         ployees because that application (like fees for political
         campaigns) can’t be thought to promote that interest, see
         Elrod, 427 U. S., at 366; the government is instead trying
         to “leverage the employment relationship” to achieve other
         goals, Garcetti, 547 U. S., at 419. So all that the majority
         has left is Knox and Harris. See ante, at 43. Dicta in
         those recent decisions indeed began the assault on Abood
         that has culminated today. But neither actually ad-
         dressed the extent to which a public employer may regu-
         late its own employees’ speech. Relying on them is boot-
         strapping—and mocking stare decisis.          Don’t like a
         decision? Just throw some gratuitous criticisms into a
         couple of opinions and a few years later point to them as
         “special justifications.”
            The majority is likewise wrong to invoke “workability”
         as a reason for overruling Abood. Ante, at 38. Does Abood
         require drawing a line? Yes, between a union’s collective-
         bargaining activities and its political activities. Is that
         line perfectly and pristinely “precis[e],” as the majority
         demands? Ante, at 38. Well, not quite that—but as exer-
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         cises of constitutional linedrawing go, Abood stands well
         above average. In the 40 years since Abood, this Court
         has had to resolve only a handful of cases raising ques-
         tions about the distinction. To my knowledge, the circuit
         courts are not divided on any classification issue; neither
         are they issuing distress signals of the kind that some-
         times prompt the Court to reverse a decision. See, e.g.,
         Johnson v. United States, 576 U. S. ___ (2015) (overruling
         precedent because of frequent splits and mass confusion).
         And that tranquility is unsurprising: There may be some
         gray areas (there always are), but in the mine run of
         cases, everyone knows the difference between politicking
         and collective bargaining. The majority cites some disa-
         greement in two of the classification cases this Court
         decided—as if non-unanimity among Justices were some-
         thing startling. And it notes that a dissenter in one of
         those cases called the Court’s approach “malleable” and
         “not principled,” ante, at 39—as though those weren’t
         stock terms in dissenting vocabulary. See, e.g., Murr v.
         Wisconsin, 582 U. S. ___, ___ (2017) (ROBERTS, C. J., dis-
         senting) (slip op., at 2); Dietz v. Bouldin, 579 U. S. ___, ___
         (2016) (THOMAS, J., dissenting) (slip op., at 1); Alabama
         Legislative Black Caucus v. Alabama, 575 U. S. ___, ___
         (2015) (slip op., at 13) (SCALIA, J., dissenting). As I wrote
         in Harris a few Terms ago: “If the kind of hand-wringing
         about blurry lines that the majority offers were enough to
         justify breaking with precedent, we might have to discard
         whole volumes of the U. S. Reports.” 573 U. S., at ___ (slip
         op., at 15).
            And in any event, one stare decisis factor—reliance—
         dominates all others here and demands keeping Abood.
         Stare decisis, this Court has held, “has added force when
         the legislature, in the public sphere, and citizens, in the
         private realm, have acted in reliance on a previous deci-
         sion.” Hilton v. South Carolina Public Railways Comm’n,
         502 U. S. 197, 202 (1991). That is because overruling a
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         decision would then “require an extensive legislative
         response” or “dislodge settled rights and expectations.”
         Ibid. Both will happen here: The Court today wreaks
         havoc on entrenched legislative and contractual
         arrangements.
           Over 20 States have by now enacted statutes authoriz-
         ing fair-share provisions. To be precise, 22 States, the
         District of Columbia, and Puerto Rico—plus another two
         States for police and firefighter unions. Many of those
         States have multiple statutory provisions, with variations
         for different categories of public employees. See, e.g., Brief
         for State of California as Amicus Curiae 24–25. Every one
         of them will now need to come up with new ways—
         elaborated in new statutes—to structure relations be-
         tween government employers and their workers. The
         majority responds, in a footnote no less, that this is of no
         proper concern to the Court. See ante, at 47, n. 27. But in
         fact, we have weighed heavily against “abandon[ing] our
         settled jurisprudence” that “[s]tate legislatures have relied
         upon” it and would have to “reexamine [and amend] their
         statutes” if it were overruled. Allied-Signal, Inc. v. Direc-
         tor, Div. of Taxation, 504 U. S. 768, 785 (1992); Hilton, 502
         U. S., at 203.
           Still more, thousands of current contracts covering
         millions of workers provide for agency fees. Usually, this
         Court recognizes that “[c]onsiderations in favor of stare
         decisis are at their acme in cases involving property and
         contract rights.” Payne, 501 U. S., at 828. Not today. The
         majority undoes bargains reached all over the country.5 It
         prevents the parties from fulfilling other commitments
         they have made based on those agreements. It forces the

         ——————
           5 Indeed, some agency-fee provisions, if canceled, could bring down
         entire contracts because they lack severability clauses. See ante, at 46
         (noting that unions could have negotiated for that result); Brief for
         Governor Tom Wolf et al. as Amici Curiae 11.
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         parties—immediately—to renegotiate once-settled terms
         and create new tradeoffs. It does so knowing that many of
         the parties will have to revise (or redo) multiple contracts
         simultaneously. (New York City, for example, has agreed
         to agency fees in 144 contracts with 97 public-sector un-
         ions. See Brief for New York City Municipal Labor Com-
         mittee as Amicus Curiae 4.) It does so knowing that those
         renegotiations will occur in an environment of legal uncer-
         tainty, as state governments scramble to enact new labor
         legislation. See supra, at 23. It does so with no real clue
         of what will happen next—of how its action will alter
         public-sector labor relations. It does so even though the
         government services affected—policing, firefighting, teach-
         ing, transportation, sanitation (and more)—affect the
         quality of life of tens of millions of Americans.
            The majority asserts that no one should care much
         because the canceled agreements are “of rather short
         duration” and would “expire on their own in a few years’
         time.” Ante, at 45, 46. But to begin with, that response
         ignores the substantial time and effort that state legisla-
         tures will have to devote to revamping their statutory
         schemes. See supra, at 23. And anyway, it misunder-
         stands the nature of contract negotiations when the par-
         ties have a continuing relationship. The parties, in renew-
         ing an old collective-bargaining agreement, don’t start on
         an empty page. Instead, various “long-settled” terms—
         like fair-share provisions—are taken as a given. Brief for
         Governor Tom Wolf et al. 11; see Brief for New York City
         Sergeants Benevolent Assn. as Amicus Curiae 18. So the
         majority’s ruling does more than advance by a few years a
         future renegotiation (though even that would be signifi-
         cant). In most cases, it commands new bargaining over
         how to replace a term that the parties never expected to
         change. And not just new bargaining; given the interests
         at stake, complicated and possibly contentious bargaining
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         as well. See Brief for Governor Tom Wolf et al. 11.6
            The majority, though, offers another reason for not
         worrying about reliance: The parties, it says, “have been
         on notice for years regarding this Court’s misgivings about
         Abood.” Ante, at 45. Here, the majority proudly lays
         claim to its 6-year crusade to ban agency fees. In Knox,
         the majority relates, it described Abood as an “anomaly.”
         Ante, at 45 (quoting 567 U. S., at 311). Then, in Harris, it
         “cataloged Abood’s many weaknesses.”           Ante, at 45.
         Finally, in Friedrichs, “we granted a petition for certiorari
         asking us to” reverse Abood, but found ourselves equally
         divided. Ante, at 45. “During this period of time,” the
         majority concludes, public-sector unions “must have un-
         derstood that the constitutionality of [an agency-fee]
         provision was uncertain.” Ibid. And so, says the majority,
         they should have structured their affairs accordingly.
            But that argument reflects a radically wrong under-
         standing of how stare decisis operates. Justice Scalia once
         confronted a similar argument for “disregard[ing] reliance
         interests” and showed how antithetical it was to rule-of-
         law principles. Quill Corp. v. North Dakota, 504 U. S. 298,
         320 (1992) (concurring opinion). He noted first what we
         always tell lower courts: “If a precedent of this Court has
         direct application in a case, yet appears to rest on reasons
         rejected in some other line of decisions, [they] should
         follow the case which directly controls, leaving to this
         Court the prerogative of overruling its own decisions.” Id.,

         ——————
           6 In a single, cryptic sentence, the majority also claims that argu-

         ments about reliance “based on [Abood’s] clarity are misplaced” because
         Abood did not provide a “clear or easily applicable standard” to sepa-
         rate fees for collective bargaining from those for political activities.
         Ante, at 45. But to begin, the standard for separating those activities
         was clear and workable, as I have already shown. See supra, at 21–22.
         And in any event, the reliance Abood engendered was based not on the
         clarity of that line, but on the clarity of its holding that governments
         and unions could generally agree to fair-share arrangements.
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         at 321 (quoting Rodriguez de Quijas v. Shearson/
         American Express, Inc., 490 U. S. 477, 484 (1989);
         some alterations omitted). That instruction, Justice Scalia
         explained, was “incompatible” with an expectation that
         “private parties anticipate our overrulings.” 406 U. S., at
         320. He concluded: “[R]eliance upon a square, unaban-
         doned holding of the Supreme Court is always justifiable
         reliance.” Ibid. Abood’s holding was square. It was una-
         bandoned before today. It was, in other words, the law—
         however much some were working overtime to make it
         not. Parties, both unions and governments, were thus
         justified in relying on it. And they did rely, to an extent
         rare among our decisions. To dismiss the overthrowing of
         their settled expectations as entailing no more than some
         “adjustments” and “unpleasant transition costs,” ante, at
         47, is to trivialize stare decisis.
                                      IV
            There is no sugarcoating today’s opinion. The majority
         overthrows a decision entrenched in this Nation’s law—
         and in its economic life—for over 40 years. As a result, it
         prevents the American people, acting through their state
         and local officials, from making important choices about
         workplace governance. And it does so by weaponizing the
         First Amendment, in a way that unleashes judges, now
         and in the future, to intervene in economic and regulatory
         policy.
            Departures from stare decisis are supposed to be “excep-
         tional action[s]” demanding “special justification,” Rum-
         sey, 467 U. S., at 212—but the majority offers nothing like
         that here. In contrast to the vigor of its attack on Abood,
         the majority’s discussion of stare decisis barely limps to
         the finish line. And no wonder: The standard factors this
         Court considers when deciding to overrule a decision all
         cut one way. Abood’s legal underpinnings have not eroded
         over time: Abood is now, as it was when issued, consistent
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         with this Court’s First Amendment law. Abood provided a
         workable standard for courts to apply. And Abood has
         generated enormous reliance interests. The majority has
         overruled Abood for no exceptional or special reason, but
         because it never liked the decision. It has overruled Abood
         because it wanted to.
            Because, that is, it wanted to pick the winning side in
         what should be—and until now, has been—an energetic
         policy debate. Some state and local governments (and the
         constituents they serve) think that stable unions promote
         healthy labor relations and thereby improve the provision
         of services to the public. Other state and local govern-
         ments (and their constituents) think, to the contrary, that
         strong unions impose excessive costs and impair those
         services. Americans have debated the pros and cons for
         many decades—in large part, by deciding whether to use
         fair-share arrangements. Yesterday, 22 States were on
         one side, 28 on the other (ignoring a couple of in-
         betweeners).    Today, that healthy—that democratic—
         debate ends. The majority has adjudged who should
         prevail. Indeed, the majority is bursting with pride over
         what it has accomplished: Now those 22 States, it crows,
         “can follow the model of the federal government and 28
         other States.” Ante, at 47, n. 27.
            And maybe most alarming, the majority has chosen the
         winners by turning the First Amendment into a sword,
         and using it against workaday economic and regulatory
         policy. Today is not the first time the Court has wielded
         the First Amendment in such an aggressive way. See, e.g.,
         National Institute of Family and Life Advocates v. Becerra,
         ante, p. ___ (invalidating a law requiring medical and
         counseling facilities to provide relevant information to
         users); Sorrell v. IMS Health Inc., 564 U. S. 552 (2011)
         (striking down a law that restricted pharmacies from
         selling various data). And it threatens not to be the last.
         Speech is everywhere—a part of every human activity
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         (employment, health care, securities trading, you name it).
         For that reason, almost all economic and regulatory policy
         affects or touches speech. So the majority’s road runs
         long. And at every stop are black-robed rulers overriding
         citizens’ choices. The First Amendment was meant for
         better things. It was meant not to undermine but to pro-
         tect democratic governance—including over the role of
         public-sector unions.
